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11
                                     UNITED STATES BANKRUPTCY COURT
12
                                      CENTRAL DISTRICT OF CALIFORNIA
13
                                       SAN FERNANDO VALLEY DIVISION
14
     IN RE:                                                     CASE NO. 1:09-bk-11678-MT
15
     PACIFICA OF THE VALLEY CORPORATION,1                       CHAPTER 11
16
              DEBTOR.
17                                                              DEBTOR’S SECOND AMENDED CHAPTER
                                                                11 PLAN OF REORGANIZATION, AS
18                                                              MODIFIED

19

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              1
              The Debtor in this proceeding is: Pacifica of the Valley Corporation d/b/a Pacifica Hospital of the Valley
26   (Tax ID No. XX-XXXXXXX), with a mailing address of 9449 San Fernando Rd., Sun Valley, CA 91352-1421.

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                                           INTRODUCTION
 1
             Pacifica of the Valley Corporation (the “Debtor”) proposes the following second
 2
     amended plan of reorganization, as modified (the “Plan”) for the resolution of the outstanding
 3   claims against and equity interests in the Debtor. The Debtor is the proponent of the Plan within
     the meaning of § 1129 of the Bankruptcy Code, 11 U.S.C. § 1129. Reference is made to the
 4   Debtor’s disclosure statement, distributed contemporaneously with the Plan (the “Disclosure
     Statement”), for a discussion of the Debtor’s history, business, results of operations, and for a
 5   summary and analysis of the Plan. There also are other agreements and documents, which will
 6   be filed with the Bankruptcy Court, that are referenced in the Plan or the Disclosure Statement
     and that will be available for review.
 7
                                         ARTICLE I
 8                        DEFINED TERMS, RULES OF INTERPRETATION
                                 AND COMPUTATION OF TIME
 9
     A.     Scope of Definitions
10
             Unless otherwise stated, all terms not defined herein shall have the meaning set forth in
11
     the Bankruptcy Code and the Bankruptcy Rules. Where there is a conflict between the defined
12   terms herein and any terms in the Bankruptcy Code or the Bankruptcy Rules, the definitions
     herein shall control. The following terms when used in the Plan shall have the meanings set
13   forth in this Article.
14   B.     Definitions
15            1.1    “Administrative Expense Claim” shall mean a Claim for costs and expenses of
     administration allowed under §§ 503(b), 507(b) or 1114(e)(2) of the Bankruptcy Code,
16
     including: (a) the actual and necessary costs and expenses incurred after the Petition Date of
17   preserving the Estate and operating the business of the Debtor (such as wages, salaries,
     commissions for services and payments for inventories, leased equipment and premises); (b)
18   compensation for legal, financial advisory, accounting and other services and reimbursement of
     expenses awarded or allowed under §§ 328(a), 330(a), 331 or 333 of the Bankruptcy Code,
19   including Fee Claims; (c) Claims for reclamation allowed in accordance with § 546(c) of the
20   Bankruptcy Code; and (d) all fees and charges assessed against the Estate under chapter 123 of
     title 28, United States Code, 28 U.S.C. §§ 1911-1930.
21
            1.2    “Allowed Claim” shall mean:
22
                    a.     A Claim that (i) has been listed by the Debtor in its Schedules as other
23   than disputed, contingent or unliquidated; and (ii) is not otherwise a Disputed Claim;
24                 b.      A Claim (i) for which a Proof of Claim or request for payment of
     Administrative Expense Claim has been filed by the applicable Bar Date or otherwise been
25
     deemed timely filed under applicable law; and (ii) that is not otherwise a Disputed Claim; or
26

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                     c.       A Claim that is allowed: (i) in any Stipulation of Amount and Nature of
 1   Claim executed by the Reorganized Debtor and the Claimant on or after the Effective Date;
 2   (ii) in any contract, instrument or other agreement entered into in connection with the Plan and, if
     prior to the Effective Date, approved by the Bankruptcy Court; (iii) pursuant to a Final Order; or
 3   (iv) pursuant to the terms of the Plan.

 4           1.3    “Allowed Envision Claim” shall have the meaning ascribed thereto in Section
     13.5 of the Plan.
 5
           1.4    “Amended Certificate of Incorporation and Bylaws” means the respective
 6
     amended and restated certificate of incorporation and amended and restated bylaws of the
 7   Reorganized Debtor, in substantially the form to be included in the Plan Supplement.

 8         1.5   “Assigned Causes of Action” shall mean (a) all Avoidance Actions, and (b) all
     Workers’ Compensation Insurance Causes of Action.
 9
             1.6    “Avoidance Actions” shall mean Causes of Action held by the Debtor and/or the
10   Estate under §§ 544, 547, 548, 549, 550 or 551 of the Bankruptcy Code.
11         1.7      “Ballot” shall mean the form or forms distributed to each holder of an Impaired
12   Claim entitled to vote on the Plan on which the holder indicates acceptance or rejection of the
     Plan.
13
           1.8      “Bankruptcy Code” shall mean Title 11 of the United States Code, 11 U.S.C. §§
14   101-1532, as in effect at the relevant time.
15           1.9     “Bankruptcy Court” shall mean the United States Bankruptcy Court, Central
     District of California, or any such Court having jurisdiction over the Chapter 11 Case.
16
            1.10 “Bankruptcy Rules” shall mean the Federal Rules of Bankruptcy Procedure, as
17
     may be amended and as supplemented by any local bankruptcy rules adopted by the Bankruptcy
18   Court.

19          1.11 “Bar Date” shall mean the applicable bar date by which a Proof of Claim must be
     or must have been filed, as established by an order of the Bankruptcy Court, including the Bar
20   Date Order and the Confirmation Order.
21          1.12 “Bar Date Order” shall mean an order of the Bankruptcy Court establishing Bar
22   Dates for Filing Proofs of Claims in the Chapter 11 Case, as the same may be amended, modified
     or supplemented.
23
            1.13 “Board of Directors” shall mean that body vested with and having the powers
24   and duties of governing the Reorganized Debtor.

25          1.14 “Business Day” shall mean any day, other than a Saturday, Sunday or “legal
     holiday” (as defined in Bankruptcy Rule 9006(a)).
26

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             1.15   “Cash” shall mean legal tender of the United States of America and equivalents
 1   thereof.
 2
             1.16 “Causes of Action” shall mean any and all actions, proceedings, causes of action,
 3   suits, accounts, demands, controversies, agreements, promises, rights to legal remedies, rights to
     equitable remedies, rights to payment, and claims held by the Debtor or the Estate, whether
 4   known, unknown, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed,
     contingent, non-contingent, matured, unmatured, disputed, undisputed, secured, or unsecured,
 5   and whether asserted or assertable directly or derivatively in law, equity, or otherwise.
 6
            1.17 “Chapter 11 Case” shall mean the above-captioned case commenced under
 7   Chapter 11 of the Bankruptcy Code by the Debtor.

 8           1.18 “Claim” shall mean a “claim,” as defined in § 101(5) of the Bankruptcy Code,
     against the Debtor.
 9
            1.19    “Claimant” shall mean the holder of a Claim.
10
            1.20 “Class” shall mean a class of Claims or Equity Interests as that term is used in the
11   § 1122 of the Bankruptcy Code.
12
            1.21 “Class 6 Creditor Trust” shall mean the trust established on the Effective Date
13   pursuant to Section 6.17 of the Plan and the Class 6 Creditor Trust Agreement.

14          1.22 “Class 6 Creditor Trustees” shall mean the trustees of the Class 6 Creditor Trust
     appointed pursuant to the Class 6 Creditor Trust Agreement.
15
             1.23 “Class 6 Creditor Trust Agreement” shall mean the trust agreement
16   establishing the Class 6 Creditor Trust, in substantially the form included in the Plan
     Supplement, which shall be executed by the Debtor and the Class 6 Creditor Trustees on the
17
     Effective Date pursuant to the terms of the Plan.
18
            1.24 “Class 6 Creditor Trust Assets” shall mean (a) the General Unsecured
19   Promissory Note and the proceeds thereof, and (b) any proceeds of Assigned Causes of Action
     turned over by Sun to the Class 6 Creditor Trust pursuant to Section 5.3(c) of the Plan.
20
            1.25 “Collective Bargaining Agreements” shall mean the Debtor’s collective
21   bargaining agreements effective in June 2007 and on June 1, 2010 with SEIU United Healthcare
22   Workers West and Service Employees International Union Local 121 RN.

23           1.26 “Committee” shall mean the statutory official committee of unsecured creditors
     in the Chapter 11 Case appointed pursuant to § 1102 of the Bankruptcy Code, as such Committee
24   may be reconstituted from time to time.

25          1.27 “Confirmation Date” shall mean the date on which the Bankruptcy Court enters
     the Confirmation Order on its docket, within the meaning of Bankruptcy Rules 5003 and 9021.
26

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            1.28 “Confirmation Hearing” shall mean the hearing before the Bankruptcy Court,
 1   held under § 1128 of the Bankruptcy Code, to consider confirmation of this Plan and related
 2   matters, as such hearing may be adjourned or continued from time to time.

 3          1.29 “Confirmation Order” shall mean the order entered by the Bankruptcy Court
     confirming the Plan pursuant to § 1129 of the Bankruptcy Code.
 4
             1.30 “Debtor” shall mean the above-captioned debtor and debtor-in-possession
 5   identified on the cover page to this Plan.
 6           1.31 “Disallowed Claim” shall mean a Claim or any portion thereof, that (a) has been
 7   disallowed by a Final Order, (b) is scheduled at zero or as contingent, disputed or unliquidated
     and as to which a Bar Date has been established but no Proof of Claim has been timely filed with
 8   the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the
     Bankruptcy Court, or (c) is not listed on the Schedules and as to which a Bar Date has been set
 9   but no Proof of Claim has been timely filed with the Bankruptcy Court pursuant to either the
     Bankruptcy Code or any Final Order of the Bankruptcy Court.
10
            1.32 “Disbursing Agent” shall mean the Reorganized Debtor, or any Person
11
     designated by the Reorganized Debtor to serve as disbursing agent under this Plan.
12
             1.33 “Disclosure Statement” shall mean the disclosure statement (including all
13   exhibits and schedules thereto or referenced therein) that relates to the Plan and has been
     prepared and distributed by the Debtor, as the same may be amended, modified or supplemented.
14
             1.34 “Disproportionate Share Hospital Payment” shall mean the special funding
15   provided by the state and federal government to hospitals, such as the Debtor, who treat
     significant populations of indigent patients through Disproportionate Share Hospital programs.
16

17           1.35 “Disputed Claim” shall mean a Claim or any portion thereof, that is neither an
     Allowed Claim nor a Disallowed Claim and includes, without limitation, Claims that (a) (i) have
18   not been listed on the Schedules by the Debtor or have been scheduled at zero or as unknown,
     contingent, unliquidated or disputed, and (ii) are not the subject of an objection filed in the
19   Bankruptcy Court but as to which the time for filing an objection has not yet expired, (b) that are
     the subject of a Proof of Claim that differs in nature, amount or priority from the Schedules, or
20
     (c) are the subject of an objection filed with the Bankruptcy Court, which objection has not been
21   withdrawn or overruled by a Final Order of the Bankruptcy Court.

22           1.36 “Disputed Claims Reserve” shall have the meaning ascribed thereto in Section
     8.3 of the Plan.
23
            1.37 “Distribution Date” shall mean an Initial Distribution Date, a Subsequent
24   Distribution Date or a Final Distribution Date.
25           1.38 “Effective Date” shall mean the means the Business Day on which all conditions
26   set forth in Article X of this Plan have been either satisfied or waived as provided in section 10.2
     of this Plan.
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            1.39 “Employees” shall mean individuals employed by the Debtor as of the
 1   Confirmation Date.
 2
             1.40 “Envision Claim” shall mean the $14.7 million Claim asserted by the Envision
 3   Entities against the Estate.

 4           1.41 “Envision Entities” shall mean Envision Hospital Corporation and anyone
     claiming by or through Envision Hospital Corporation including, but not limited to, the chapter 7
 5   trustee or bankruptcy estate of Envision Hospital Corporation.
 6           1.42 “Equity Interest” shall mean (a) any share of stock or other ownership interest in
 7   the Debtor, whether or not transferable, and any option, warrant, or right, contractual or
     otherwise, to acquire any such interest, and (b) any Claim that is recharacterized as an Equity
 8   Interest by a Final Order.

 9          1.43 “Estate” shall mean the estate created for the Debtor in the Chapter 11 Case
     pursuant to § 541 of the Bankruptcy Code.
10
           1.44 “Executory Contract” or “Unexpired Lease” shall mean a contract or lease to
11   which the Debtor is a party that is subject to assumption or rejection under § 365 of the
12   Bankruptcy Code.

13          1.45 “Factoring Order” shall mean the Final Order: (1) Approving Post-Petition
     Factoring Agreement: (2) Authorizing Use of Cash Collateral and Granting Adequate Protection;
14   (3) Granting Security Interests and Super-Priority Administrative Expense Treatment; and (4)
     Approving Sun Capital Healthcare, Inc.’s Fees and Costs, entered by the Bankruptcy Court on
15   March 26, 2009, as it has been amended or modified.
16          1.46 “Fee Claim” shall mean a Claim under §§ 328, 330(a), 331, 333, 503 or 1103 of
17   the Bankruptcy Code for compensation of a Professional or other Person for services rendered or
     expenses incurred in the Chapter 11 Case.
18
             1.47   “Final Distribution Date” shall have the meaning ascribed thereto in Section 7.5
19   of the Plan.
20           1.48 “Final Order” shall mean an order or judgment of the Bankruptcy Court, or other
     court of competent jurisdiction, as entered on the docket in the Chapter 11 Case or the docket of
21
     any other court of competent jurisdiction, that has not been reversed, stayed, modified or
22   amended, and as to which the time to appeal or seek certiorari or move for a new trial,
     reargument or rehearing has expired, and no appeal or petition for certiorari or other proceedings
23   for a new trial, reargument or rehearing has been timely filed, or as to which any appeal that has
     been filed or any petition for certiorari that has been timely filed has been withdrawn or resolved
24   by the highest court to which the order or judgment was appealed or from which certiorari was
     sought or the new trial, reargument or rehearing shall have been denied or resulted in no
25
     modification of such order; provided, however, that the possibility that a motion under Rule 59
26   or 60 of the Federal Rules of Civil Procedure or any analogous rule under the Bankruptcy Rules

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     or other rules governing procedure in cases before the Bankruptcy Court, may be filed with
 1   respect to such order or judgment shall not cause such order or judgment not to be a Final Order.
 2
            1.49 “General Unsecured Claim” shall mean any Claim that is not an Administrative
 3   Expense Claim, Priority Tax Claim, Priority Claim, HCREIT Claim, Sun Claim, Secured Tax
     Claim, Other Secured Claim or Subordinated Claim.
 4
             1.50 “General Unsecured Promissory Note” shall mean the unsecured promissory
 5   note, in substantially the form included in the Plan Supplement, executed by the Reorganized
     Debtor and delivered to the Class 6 Creditor Trustees on the Effective Date for the benefit of
 6
     holders of Allowed General Unsecured Claims (a) in the principal amount of $4,575,000, (b)
 7   bearing regular interest from the Effective Date at 8% per annum, (c) with default interest,
     payable only in the event of a payment default under the General Unsecured Promissory Note, at
 8   12% per annum, (d) only accruing interest until the Sun and Unsecured Notes Payment Date, (e)
     fully amortized by equal monthly payments of principal and interest beginning on the Sun and
 9   Unsecured Notes Payment Date, and (f) maturing on the date that is seven years after the
     Effective Date.
10

11          1.51 “Guarantees” shall mean Paul R. Tuft’s guarantees of the HCREIT Promissory
     Note, the Sun Term Loan, the Sun Promissory Note and the General Unsecured Promissory
12   Note.

13          1.52   “HCREIT” shall mean Health Care REIT, Inc.
14          1.53 “HCREIT 2011 Payments” shall mean (a) a principal payment on account of the
     HCREIT Promissory Note in the amount of $378,000, payable once the State of California pays
15   the January 2011 quality assurance fee to the Debtor (currently scheduled for the week of
16   January 31, 2011), and (b) a principal payment on account of the HCREIT Promissory Note in
     the amount of $378,000, payable once the State of California pays the February 2011 quality
17   assurance fee to the Debtor (currently scheduled for the week of February 28, 2011).

18           1.54 “HCREIT Cash Payment” shall mean the Debtor’s Cash payment to HCREIT
     on the Effective Date in the approximate amount of $3,800,000, which amount shall consist of
19   the amounts required to pay in full the HCREIT Effective Date Paydown and the HCREIT Fee
20   Satisfaction (as adjusted, if necessary, in accordance with Section 1.57 below).

21          1.55   “HCREIT Claims” shall mean the Claims of HCREIT.

22           1.56 “HCREIT Effective Date Paydown” shall mean that portion of the HCREIT
     Cash Payment, in the amount of $2,644,000, which shall be applied toward the principal amount
23   of the HCREIT Promissory Note.
24           1.57 “HCREIT Fee Satisfaction” shall mean that portion of the HCREIT Cash
     Payment required to fully satisfy any HCREIT Claim for legal fees and unpaid adequate
25
     protection payments related to the Debtor or the Chapter 11 Case as of the Effective Date, which
26   amount is estimated to be $1,156,000, subject to final adjustment to reflect the actual amount of
     HCREIT’s claims for legal fees and adequate protection payments as of the Effective Date.
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             1.58 “HCREIT Promissory Note” shall mean the promissory note, in substantially
 1   the form included in the Plan Supplement, executed by the Reorganized Debtor and delivered to
 2   HCREIT on the Effective Date on account of the HCREIT Claims (a) in a principal amount
     equal to approximately $8,044,804.17, based on an estimated Effective Date of January 1, 2011,
 3   (b) bearing regular interest from the Effective Date at 9.63% per annum in year one, escalating
     0.50% each year thereafter, up to a maximum of 10.63%, (c) with default interest, payable only
 4   in the event of a payment default under the HCREIT Promissory Note, at 4.00% above the
     applicable regular interest rate, (d) providing for monthly payments of interest in arrears, (e)
 5
     providing for the HCREIT Effective Date Paydown and the HCREIT 2011 Payments, (f) other
 6   than the HCREIT Effective Date Paydown and the HCREIT 2011 Payments, providing for equal
     monthly principal payments beginning one year after the Effective Date sufficient to fully
 7   amortize the HCREIT Promissory Note by the date that is thirty-six (36) months after the
     Effective Date, and (g) maturing on the date that is thirty-six (36) months after the Effective
 8   Date.
 9           1.59 “HCREIT Regular Payment Completion Date” shall mean the date on which
10   an amount equal to all of the following has been paid in full: (a) the HCREIT Fee Satisfaction;
     (b) all principal under the HCREIT Promissory Note; (c) all non-default interest under the
11   HCREIT Promissory Note; and (d) all ordinary non-default fees (other than late fees), costs and
     charges under the HCREIT Promissory Note.
12
            1.60 “Hospital” shall mean the general acute care hospital owned and operated by the
13   Debtor in Sun Valley, California.
14         1.61 “Impaired” shall mean when used with reference to a Claim or Equity Interest, a
15   Claim or Equity Interest that is “impaired” within the meaning of § 1124 of the Bankruptcy
     Code.
16
             1.62 “Initial Distribution Date” shall have the meaning ascribed thereto in Section
17   7.3 of the Plan.
18           1.63 “Intercreditor Agreement” shall mean an intercreditor agreement between
     HCREIT and Sun, setting forth additional terms governing such parties’ exercise of their
19
     respective rights and remedies with respect to the Reorganized Debtor and each other and such
20   other provisions as the parties may agree upon, in form and substance acceptable to both
     HCREIT and Sun and which may be amended by the parties thereto without amending the Plan.
21
             1.64 “Lien” or “Liens” shall mean a lien, security interest or charge against or
22   interest in property of the Debtor to secure payment of a debt or performance of an obligation
     owed by the Debtor.
23
            1.65    “Liquidity Portion” shall have the meaning ascribed to it in Section 6.7(a)(ii) of
24
     the Plan.
25
             1.66   “Long Term Portion” shall have the meaning ascribed to it in Section 6.7(a)(i)
26   of the Plan.

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            1.67 “Net Proceeds of Assigned Causes of Action” shall mean the actual cash
 1   proceeds of the Assigned Causes of Action, less all expenses incurred by Sun or its designee, or
 2   the Reorganized Debtor, as the case may be, in generating such proceeds, including all fees and
     expenses of attorneys, accountants, consultants and expert witnesses and court costs.
 3
             1.68 “New Stock” shall mean the shares of common stock of the Reorganized Debtor
 4   to be issued on the Effective Date in accordance with Article VI of this Plan.
 5           1.69 “Officers” shall mean those persons chosen by the Board of Directors as the
     officers who shall perform the executive duties of the Reorganized Debtor.
 6

 7          1.70 “Organizational Documents” shall mean the bylaws, articles of incorporation,
     corporate charters, certificates of formation, limited liability agreements or other documents or
 8   agreements that govern or affect the corporate formation and governance of the Debtor and the
     Reorganized Debtor.
 9
             1.71 “Other Secured Claim” shall mean a Claim that is secured by a lien on property
10   in which the Estate has an interest or that is subject to setoff under § 553 of the Bankruptcy
     Code, to the extent of the value of the Claimant’s interest in the Estate’s interest in such property
11
     or to the extent of the amount subject to setoff, as applicable, as determined pursuant to §§
12   506(a) and, if applicable, 1129(b) of the Bankruptcy Code, other than a HCREIT Claim, a Sun
     Claim or a Secured Tax Claim.
13
           1.72 “Ordinary Course Administrative Expense Claims” shall mean Administrative
14   Expense Claims incurred in the ordinary course of the Debtor’s business, including the
     Administrative Expense Claims of trade vendors and suppliers of the Debtor.
15
             1.73 “Person” shall mean an individual, corporation, partnership, joint venture,
16
     association, joint stock company, limited liability company, limited liability partnership, trust,
17   estate, unincorporated organization, governmental unit (as defined in § 101(27) of the
     Bankruptcy Code), or other entity.
18
           1.74 “Petition” shall mean the voluntary petition for relief filed by the Debtor with the
19   Bankruptcy Court on February 17, 2009 under Chapter 11 of the Bankruptcy Code, and any
     amendments or modifications thereto.
20

21           1.75 “Petition Date”shall mean the date on which the Debtor filed its petition for
     relief commencing the Chapter 11 Case.
22
            1.76 “Plan” shall mean this second amended Chapter 11 plan of reorganization for the
23   Debtor, either in its present form or as it may be altered, amended, or modified, including all
     Exhibits thereto.
24
            1.77 “Plan Supplement” shall mean the supplement to this Plan filed by the Debtor
25   with the Bankruptcy Court on or before the Effective Date.
26
            1.78 “Post-Petition PTO” shall mean paid time off, vacation days, sick days, holiday
27   days, bereavement days, and jury duty days accruing for Employees after the Petition Date.
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            1.79 “Pre-Petition PTO” shall mean paid time off, vacation days, sick days, holiday
 1   days, bereavement days, and jury duty days accruing for Employees before the Petition Date.
 2
             1.80 “Priority Claim” shall mean a Claim that is entitled to priority in payment
 3   pursuant to § 507(a) of the Bankruptcy Code that is not an Administrative Expense Claim or a
     Priority Tax Claim.
 4
            1.81 “Priority Tax Claim” shall mean a Claim that is entitled to priority in payment
 5   pursuant to § 507(a)(8) of the Bankruptcy Code.
 6          1.82 “Professional” shall mean any professional employed in the Chapter 11 Case
 7   pursuant to §§ 327, 328, 333 or 1103 of the Bankruptcy Code or any professional or other entity
     seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
 8   pursuant to § 503(b)(4) of the Bankruptcy Code.

 9          1.83 “Proof of Claim” shall mean Official Form 10 as is used in the Bankruptcy Court
     as evidence of a Claim, properly filled-out, executed with supporting documentation, and filed
10   with the Bankruptcy Court before any applicable Bar Date.
11           1.84 “Property” means all assets or property of the Estate of any nature whatsoever,
12   real or personal, tangible or intangible, including contract rights, accounts and Causes of Action
     (whether direct or derivative), previously or now owned by the Debtor or the Reorganized
13   Debtor, as the case may be, or acquired by the Estate, as defined in § 541 of the Bankruptcy
     Code.
14
             1.85 “Pro Rata” shall mean when used with reference to a distribution to holders of
15   Allowed Claims in a particular Class or other specified group of Claims pursuant to Article V of
     the Plan, proportionately so that with respect to a particular Allowed Claim in such Class, the
16
     ratio of (a)(i) the amount of Cash distributed on account of such Allowed Claim to (ii) the
17   amount of such Allowed Claim, is the same as the ratio of (b)(i) the amount of Cash distributed
     on account of all Allowed Claims in such Class or group of Claims to (ii) the amount of all
18   Allowed Claims in such Class or group of Claims.
19         1.86 “Real Estate” shall mean the real property owned by the Debtor commonly
     known as 9449 San Fernando Road, Sun Valley, California 91352-1421.
20

21           1.87 “Real Estate Collateral” shall mean (a) the Real Estate, (b) all buildings and any
     other improvements now or hereafter erected or placed upon the Real Estate, (c) all fixtures of every
22   kind and nature whatsoever now or hereafter affixed to the Real Estate, (d) all equipment located in
     or on, or used or usable in connection with, the Real Estate or any improvements or fixtures located
23   thereon, and (e) all rents, income, issues, profits, royalties and other benefits derived or to be
     derived from the Real Estate or any related improvements or fixtures, and all of the Debtor’s interest
24   in any lease, license or other agreement pursuant to which any such rents are payable.
25
            1.88 “Recapitalization Agreement” shall mean the Recapitalization Agreement
26   between the Reorganized Debtor and Tuft, substantially in the form attached as Exhibit C to the
     Disclosure Statement, together with any of the documents and instruments relating thereto,
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     setting the terms of the issuance of the New Stock to Tuft on the Effective Date of the Plan and
 1   simultaneously with the vesting of assets in the Reorganized Debtor.
 2
             1.89 “Reinstated” or “Reinstatement” shall mean rendering a Claim Unimpaired
 3   within the meaning of § 1124 of the Bankruptcy Code. Unless the Plan specifies a particular
     method of Reinstatement, when the Plan provides that an Allowed Claim will be Reinstated,
 4   such Claim will be Reinstated, at the Reorganized Debtor’s sole discretion, in accordance with
     one of the following:
 5
                    a.      The legal, equitable and contractual rights to which such Claim entitles the
 6
     holder will be unaltered; or
 7
                    b.     Notwithstanding any contractual provisions or applicable law that entitles
 8   the holder of such Claim to demand or receive accelerated payment of such Claim after the
     occurrence of a default:
 9
                          i.         any such default that occurred before or after the commencement
10   of the Chapter 11 Case, other than a default of a kind specified in § 365(b)(2) of the Bankruptcy
     Code, will be cured;
11

12                           ii.     the maturity of such Claim as such maturity existed before such
     default will be reinstated;
13
                            iii.     the holder of such Claim will be compensated for any damages
14   incurred as a result of any reasonable reliance by such holder on such contractual provision or
     such applicable law; and
15
                             iv.      the legal, equitable or contractual rights to which such Claim
16   entitles the holder of such Claim will not otherwise be altered.
17
             1.90   “Rejection Claim” shall have the meaning ascribed thereto in Section 9.1 of the
18   Plan.

19          1.91 “Remaining Assets” shall mean all assets of the Reorganized Debtor other than
     the Real Estate Collateral and the Assigned Causes of Action.
20
             1.92   “Reorganized Debtor” shall mean the Debtor on and after the Effective Date.
21
             1.93 “Schedules” shall mean the schedules of the Debtor’s assets and liabilities and
22
     the statement of financial affairs filed by the Debtor, as required by § 521 of the Bankruptcy
23   Code, as the same may have been or may be amended, modified or supplemented.

24          1.94 “Secured Tax Claim” shall mean a Claim that would otherwise meet the
     description of an unsecured Claim of a governmental unit under § 507(a)(8) of the Bankruptcy
25   Code but is secured by a Lien on property in which the Estate has an interest, to the extent of the
     value of the Claimant’s interest in the Estate’s interest in such property.
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             1.95 “Serra” shall mean (a) Serra Community Medical Clinic, Inc., (b) affiliates of
 1   Serra Community Medical Clinic, Inc., (c) Dr. S.K. Durairaj, (d) current and former officers and
 2   directors of Serra Community Medical Clinic, Inc., and (e) current and former executives and
     employees of the Debtor who are or were employed by, or have or had an ownership interest in,
 3   Serra Community Medical Clinic, Inc.

 4          1.96 “Stipulation of Amount and Nature of Claim” shall mean a stipulation or other
     agreement between the Debtor or the Reorganized Debtor and a Claimant, or an agreed order of
 5   the Bankruptcy Court, establishing the amount and nature of a Claim.
 6
             1.97 “Subordinated Claim” shall mean any Claim which (i) is subordinated pursuant
 7   to § 510(c) of the Bankruptcy Code, (ii) arises from rescission of a purchase or sale of a debt
     security of the Debtor, for damages arising from the purchase or sale of such debt security, or
 8   any Claim for reimbursement, contribution, or indemnification arising from or relating to any
     such Claim, or (iii) is a Claim for a fine, penalty, forfeiture, multiple, exemplary or punitive
 9   damages, or otherwise not predicated upon compensatory damages, and that would be
     subordinated in a Chapter 7 case pursuant to § 726(a)(4) of the Bankruptcy Code or otherwise.
10

11          1.98   “Sun” shall mean Sun Capital Healthcare, Inc.

12           1.99 “Sun and Unsecured Notes Payment Date” shall mean the date on which the
     HCREIT Promissory Note has been paid in full; provided, however, that if the HCREIT
13   Promissory Note has not been paid in full by the date that is thirty-six (36) months after the
     Effective Date, then the Sun and Unsecured Notes Payment Date shall be the HCREIT Regular
14   Payment Completion Date.
15          1.100 “Sun AR Tranche” shall mean that portion of the Sun Claims, in the
16   approximate amount of $4.75 million, arising from Sun’s purchases of and advances against the
     Debtor’s accounts receivable and including all fees and expenses of professionals to Sun
17   chargeable to the Debtor under Sun’s agreements with the Debtor or orders of the Bankruptcy
     Court.
18
            1.101 “Sun Claims” shall mean the Claims of Sun.
19
            1.102 “Sun DSH Tranche” shall mean that portion of the Sun Claims, in the
20
     approximate amount of $18,320,221.54, arising from Sun’s purchases of and advances against
21   the Debtor’s rights to receive Disproportionate Share Hospital Payments.

22           1.103 “Sun Promissory Note” shall mean the promissory note, in substantially the
     form included in the Plan Supplement, executed by the Reorganized Debtor and delivered to Sun
23   on the Effective Date on account of the Sun Claims (a) in the principal amount of $17,860,000,
     (b) bearing regular interest from the Effective Date at 8% per annum, (c) with default interest,
24   payable only in the event of a payment default under the Sun Promissory Note, at 12% per
25   annum, (d) only accruing interest until the Sun and Unsecured Notes Payment Date, (e) fully
     amortized by equal monthly payments of principal and interest beginning on the Sun and
26   Unsecured Notes Payment Date, and (f) maturing on the date that is seven years after the
     Effective Date.
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             1.104 “Sun Term Loan” shall mean that certain term loan, on the terms substantially as
 1   set forth in the Plan Supplement, made by Sun to the Reorganized Debtor on the Effective Date
 2   in the principal amount of $2,500,000.

 3           1.105 “Tuft” shall mean Paul R. Tuft.

 4           1.106 “Unclassified Claims” shall mean those Claims described in Article II of this
     Plan.
 5
            1.107 “Unimpaired” shall mean, when used with reference to a Claim, a Claim that is
 6   not Impaired.
 7
             1.108 “Workers’ Compensation Insurance Causes of Action” shall mean Causes of
 8   Action held by the Debtor and/or the Estate against Envision Hospital Corporation, the Chapter 7
     estate of Envision Hospital Corporation, American Home Assurance Company, AIG Risk
 9   Management, Inc., Chartis US, Hill Insurance Services, LLC, and others with respect to
     retrospective premium refunds under workers’ compensation policies for the Debtor for calendar
10   years 2006, 2007 and 2008.
11   C.      Rules of Interpretation
12
             For purposes of the Plan, unless otherwise provided herein: (a) whenever from the
13   context it is appropriate, each term, whether stated in the singular or the plural, will include both
     the singular and the plural; (b) unless otherwise provided in the Plan, any reference in the Plan to
14   a contract, instrument, release or other agreement or document being in a particular form or on
     particular terms and conditions means that such document will be substantially in such form or
15   substantially on such terms and conditions; (c) any reference in the Plan to an existing document
     or Exhibit filed or to be filed means such document or Exhibit, as it may have been or may be
16
     amended, modified or supplemented pursuant to the Plan, the Confirmation Order or otherwise;
17   (d) any reference to a Person as a holder of a Claim includes that Person’s successors, assigns
     and affiliates; (e) all references in the Plan to Sections, Articles and Exhibits are references to
18   Sections, Articles and Exhibits of or to the Plan; (f) the words “herein,” “hereunder” and
     “hereto” refer to the Plan in its entirety rather than to a particular portion of the Plan; (g) captions
19   and headings to Articles and Sections are inserted for convenience of reference only and are not
20   intended to be a part of or to affect the interpretation of the Plan; (h) subject to the provisions of
     any contract, articles of incorporation, bylaws, similar constituent documents, instrument, release
21   or other agreement or document entered into or delivered in connection with the Plan, the rights
     and obligations arising under the Plan will be governed by, and construed and enforced in
22   accordance with, federal law, including the Bankruptcy Code and the Bankruptcy Rules; and (i)
     the rules of construction set forth in § 102 of the Bankruptcy Code will apply to the extent not
23   inconsistent with any other provision of this Section 1(C).
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     D.     Computation of Time
 1
           In computing any period of time prescribed or allowed by the Plan, the provisions of
 2
     Bankruptcy Rule 9006(a) will apply.
 3
                                        ARTICLE II
 4                           TREATMENT OF UNCLASSIFIED CLAIMS

 5           2.1.    Allowed Administrative Expense Claims. Subject to the provisions contained
     in Section 2.2 of this Plan, unless otherwise agreed in writing by the Reorganized Debtor and the
 6   holder of an Allowed Administrative Expense Claim, the Disbursing Agent shall pay to each
 7   holder of an Allowed Administrative Expense Claim an amount equal to its Allowed
     Administrative Expense Claim on the latest of (a) the Effective Date or as soon thereafter as is
 8   practicable, (b) for Ordinary Course Administrative Expense Claims, when such Claims are due
     and payable in the ordinary course of the Debtor’s business, (c) 30 days after the date on which
 9   such Administrative Expense Claim becomes an Allowed Administrative Expense Claim by the
     entry of a Final Order, and (d) the date the Reorganized Debtor is otherwise obligated to pay
10   such Administrative Expense Claim in accordance with the terms and provisions of the particular
11   transactions giving rise to such Claim, the terms and provisions of this Plan and any orders of the
     Bankruptcy Court relating thereto.
12
            2.2.     Requests for Allowance of Administrative Expense Claims. Except as
13   expressly set forth to the contrary in this Plan, each Person, including each Professional, shall file
     an application for an allowance of an Administrative Expense Claim in conformity with the
14   following Subsections:
15                   a.     Professionals. All Professionals shall file a final application for the
16   allowance of a Fee Claim on or before forty (40) days following the Effective Date. Objections
     to any Fee Claim must be filed and served on the Reorganized Debtor, former counsel for the
17   Committee and the requesting Professional no later than twenty (20) days after the filing of the
     applicable application for allowance of the Fee Claim. Pursuant to its agreement with the
18   Committee, Sun is hereby waiving the following clause from Section 5.1, lines 6-9 of the
     Factoring Order: “provided, however, that no more than $10,000 in the aggregate may be used
19
     by the Committee to investigate the validity, priority and amount of the Pre-Petition Obligations,
20   the Pre-Petition Liens and the Pre-Petition Ownership Interests.”

21                  b.    Other Administrative Expense Claimants.                   All holders of
     Administrative Expense Claims other than Professionals shall file a request for payment of an
22   Administrative Expense Claim with the Bankruptcy Court on or before forty (40) days following
     the Effective Date. Holders of Administrative Expense Claims, including such Persons asserting
23   a Claim under § 503(b)(9) of the Bankruptcy Code, who do not file a request for payment by
24   such deadline shall be forever barred from asserting such Claims against the Debtor, the
     Reorganized Debtor or their respective property and assets (whether cash or otherwise).
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            2.3.    Allowed Priority Tax Claims. Pursuant to § 1129(a)(9)(C) of the Bankruptcy
 1   Code, unless otherwise agreed in writing by the holder of a Priority Tax Claim and the
 2   Reorganized Debtor, each holder of an Allowed Priority Tax Claim shall be paid a value, as of
     the Effective Date, equal to the unpaid portion of such Allowed Priority Tax Claim in quarterly
 3   cash payments beginning on the final day of the first full quarter after the Effective Date and
     ending five years after the Petition Date.
 4
             2.4.    Other Provisions Concerning Treatment of Priority Tax Claims.
 5   Notwithstanding the provisions of Section 2.3 of the Plan, the holder of an Allowed Priority Tax
 6   Claim will not be entitled to receive any payment on account of any penalty arising with respect
     to or in connection with the Allowed Priority Tax Claim, except as Allowed under §
 7   507(a)(8)(G) of the Bankruptcy Code. Other than as Allowed under § 507(a)(8)(G) of the
     Bankruptcy Code, any such Claim or demand for any such penalty (i) will be subject to treatment
 8   in Class 7 pursuant to § 726(a)(4) of the Bankruptcy Code and (ii) the holder of an Allowed
     Priority Tax Claim will not assess or attempt to collect such penalty from the Reorganized
 9   Debtor or its property.
10
                                          ARTICLE III
11                             CLASSES OF CLAIMS AND INTERESTS

12           All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
     Claims, are placed in the following Classes. In accordance with § 1123(a)(1) of the Bankruptcy
13   Code, Administrative Expense Claims and Priority Tax Claims, as described in Sections 2.1 and
     2.3 of the Plan, have not been classified and thus are excluded from the following Classes. A
14   Claim or Equity Interest is classified in a particular Class only to the extent that the Claim or
15   Equity Interest qualifies within the description of that Class and is classified in other Classes to
     the extent that any remainder of the Claim or Equity Interest qualifies within the description of
16   such other Classes.

17          3.1.    Class 1 (Priority Claims) shall consist of all Priority Claims.
18          3.2.    Class 2 (HCREIT Claims) shall consist of all HCREIT Claims.
19          3.3.    Class 3 (Sun Claims) shall consist of all Sun Claims.
20
            3.4.    Class 4 (Secured Tax Claims) shall consist of all Secured Tax Claims.
21
            3.5.    Class 5 (Other Secured Claims) shall consist of all Other Secured Claims.
22
            3.6.     Class 6 (General Unsecured Claims) shall consist of all General Unsecured
23   Claims and the unsecured portion of any Claim that if fully secured would have been included in
     Class 5 and as to which the Debtor shall have elected Option A or Option C treatment under
24   Section 5.5 of the Plan.
25          3.7.    Class 7 (Subordinated Claims) shall consist of all Subordinated Claims.
26
            3.8.    Class 8 (Equity Interests) shall consist of all Equity Interests.
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                                    ARTICLE IV
 1            IDENTIFICATION OF IMPAIRED CLASSES AND VOTING CLASSES;
 2                 EFFECT OF REJECTION BY ONE OR MORE CLASSES
                          OF CLAIMS OR EQUITY INTERESTS
 3
            4.1     Impaired Classes of Claims Entitled to Vote. Holders of Claims in each
 4   Impaired Class are entitled to vote as a Class to accept or reject this Plan, other than Classes that
     are deemed to accept or reject this Plan as provided in Sections 4.2 and 4.3 herein. Accordingly,
 5   the votes of holders of Claims in Classes 2, 3, 4, 5 and 6 shall be solicited with respect to this
 6   Plan.

 7           4.2   Class Deemed to Accept the Plan. Class 1 Priority Claims are Unimpaired by
     this Plan. Under § 1126(f) of the Bankruptcy Code, holders of Class 1 Priority Claims are
 8   conclusively deemed to have accepted this Plan, and the votes of such holders will not be
     solicited.
 9
            4.3    Classes Deemed to Reject the Plan. Because holders of Class 7 Subordinated
10   Claims and Class 8 Equity Interests are not receiving or retaining any property under this Plan on
11   account of such Claims or Equity Interests, they are conclusively deemed to have rejected this
     Plan under § 1126(g) of the Bankruptcy Code, and the votes of such holders will not be solicited.
12
             4.4    Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code. To the
13   extent that any Impaired Class entitled to vote rejects the Plan or is deemed to have rejected the
     Plan, the Debtor will request confirmation of this Plan, as it may be amended or modified from
14   time to time, under § 1129(b) of the Bankruptcy Code.
15                                 ARTICLE V
16             TREATMENT OF CLASSES OF CLAIMS AND EQUITY INTERESTS

17            5.1    Treatment of Class 1 – Priority Claims. Unless otherwise agreed in writing by
     the Reorganized Debtor and the holder of an Allowed Priority Claim, the Disbursing Agent shall
18   pay to each holder of an Allowed Priority Claim an amount equal to its Allowed Priority Claim
     on the latest of (a) the Effective Date or as soon thereafter as is practicable, (b) 30 days after the
19   date on which such Priority Claim becomes an Allowed Priority Claim by the entry of a Final
     Order, and (c) the date the Reorganized Debtor is otherwise obligated to pay such Allowed
20
     Priority Claim in accordance with the terms and provisions of the particular transactions giving
21   rise to such Claim, the terms and provisions of this Plan and any orders of the Bankruptcy Court
     relating thereto.
22
            5.2     Treatment of Class 2 – HCREIT Claims.
23
                    a.      HCREIT Promissory Note. The HCREIT Claims shall be Allowed
24   Claims and such claims shall be satisfied by (a) the Reorganized Debtor’s execution and delivery
25   of the HCREIT Promissory Note on the Effective Date, and (b) the HCREIT Cash Payment. The
     HCREIT Promissory Note may be prepaid in whole or in part at any time without penalty. The
26   HCREIT Promissory Note shall be secured by (i) a first-priority Lien on the Real Estate
     Collateral, and (ii) a second-priority Lien on the Remaining Assets, immediately junior to the
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     Liens securing the Sun Term Loan and the Sun Promissory Note. Any amounts payable under
 1   the HCREIT Promissory Note after the HCREIT Regular Payment Completion Date shall
 2   continue to be secured by the foregoing Liens, but HCREIT shall not be entitled to foreclose, or
     execute upon, or otherwise exercise any other rights or remedies to enforce its right to payment
 3   of such amounts until payment in full of the Sun Term Loan, the Sun Promissory Note and the
     General Unsecured Promissory Note.
 4
                      b.      Right of Purchase by Sun. Sun or its designee shall have the right at any
 5   time to purchase the HCREIT Promissory Note, and receive an assignment by HCREIT of the
 6   HCREIT Promissory Note and the Liens securing the HCREIT Promissory Note, without
     representation or warranty other than that HCREIT is conveying to Sun or its designee all of
 7   HCREIT’s right, title and interest in and to the HCREIT Promissory Note and the Liens securing
     the HCREIT Promissory Note, free and clear of any liens, claims or encumbrances created by or
 8   through HCREIT, upon payment to HCREIT in Cash of an amount equal to the then-unpaid
     balance of the HCREIT Promissory Note, which amount shall include all unpaid principal,
 9   interest, costs, fees (including legal fees) and other charges then outstanding under the HCREIT
10   Promissory Note, with such terms of Sun’s right to purchase the HCREIT Promissory Note to be
     included in the Intercreditor Agreement; provided, however, that the Intercreditor Agreement
11   will not impose any material conditions on Sun's right to buy the HCREIT Promissory Note in
     addition to those set forth in the Plan.
12
            5.3    Treatment of Class 3 – Sun Claims. The Sun Claims shall be Allowed Claims
13   and such Claims shall be satisfied as follows:
14                    a.     Sun AR Tranche. On the Effective Date, the Sun AR Tranche shall be
15   paid in full as follows: (i) first, Sun shall apply all of the Debtor’s cash collateral held by Sun on
     the Effective Date; and (ii) second, the Reorganized Debtor shall pay the balance of the Sun AR
16   Tranche to Sun in Cash.

17                  b.      Sun DSH Tranche. On the Effective Date, the Reorganized Debtor shall
     execute and deliver the Sun Promissory Note. Sun shall not charge or collect any prepayment
18   penalty on account of the Debtor’s whole or partial prepayment of the Sun Promissory Note.
19   The Sun Promissory Note shall be secured by the following Liens and pledge, which Liens and
     pledge shall be pari passu with the Liens and pledge securing the Sun Term Loan: (i) a first-
20   priority Lien on the Remaining Assets, (ii) a second-priority Lien on the Real Estate Collateral,
     immediately junior to the Lien securing the HCREIT Promissory Note, (iii) a first-priority Lien
21   on the Assigned Causes of Action, which Lien shall be the sole and exclusive lien, charge or
     encumbrance on the Assigned Causes of Action, and (iv) a pledge of the New Stock, which
22   pledge shall be the sole and exclusive lien, charge or encumbrance on the New Stock; provided,
23   however, that Sun may not foreclose, or execute upon, or otherwise exercise any other rights or
     remedies with respect to the New Stock, until (x) the Reorganized Debtor has fully paid HCREIT
24   the HCREIT Fee Satisfaction and all amounts due under the HCREIT Promissory Note, or (y)
     Sun or its designee has purchased the HCREIT Promissory Note in accordance with the
25   provisions of Section 5.2 of the Plan.
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                    c.      Assigned Causes of Action.
 1
                            (i)     On the Effective Date, all of the Debtor’s right, title and interest in
 2
     and to the Assigned Causes of Action shall be transferred, assigned, conveyed and delivered to
 3   Sun or its designee and shall vest in Sun or its designee free and clear of all Claims, Liens,
     charges, other encumbrances; provided, however, that if Sun does not commence a proceeding in
 4   the Bankruptcy Court on or before February 11, 2011 with respect to any Assigned Cause of
     Action that is an Avoidance Action, such Avoidance Action shall automatically revert to the
 5   Reorganized Debtor and may be prosecuted by the Reorganized Debtor. All Assigned Causes of
 6   Action that are Workers’ Compensation Insurance Causes of Actions shall remain vested in Sun
     or its designee, and shall not revert to the Reorganized Debtor, regardless of whether any action
 7   or proceeding is commenced with respect thereto.

 8                          (ii)    Any Net Proceeds of Assigned Causes of Action, whether the
     Assigned Cause of Action is prosecuted by Sun or by the Reorganized Debtor, shall be turned
 9   over to Sun or its designee and applied to payment of the Sun Promissory Note first toward
     accrued and unpaid interest, and second toward principal payments owing in inverse order of
10
     maturity; provided, however, that any Net Proceeds of Assigned Causes of Action received by
11   Sun or its designee after the Sun Promissory Note has been paid in full shall be turned over to the
     Class 6 Creditor Trust to apply to the unpaid amount of the General Unsecured Promissory Note,
12   or if the General Unsecured Note has been paid in full, to the Reorganized Debtor.
13                         (iii) If there are any Net Proceeds of Assigned Causes of Action
     resulting from Workers’ Compensation Insurance Causes of Action, the application of Net
14   Proceeds of Assigned Causes of Action resulting from Workers’ Compensation Insurance
15   Causes of Action in reduction of the Sun Promissory Note may be reversed to the extent that
     such funds are required for payment of any retrospective premiums that become owing under the
16   workers’ compensation policies for the Debtor for calendar years 2006, 2007 or 2008; provided,
     however, that any such reversal of the application of such Net Proceeds of Assigned Causes of
17   Action Workers’ Compensation Insurance Causes of Action shall not exceed the amount of such
     Net Proceeds of Assigned Causes of Action Workers’ Compensation Insurance Causes of Action
18
     actually collected by Sun and applied by Sun to pay down the Sun Promissory Note. The
19   Reorganized Debtor shall not be responsible for any such retrospective premium payment or
     repayment.
20
                     d.      Reconveyance of Accounts to Reorganized Debtor. On the Effective
21   Date, Sun shall reconvey to the Reorganized Debtor ownership of all accounts receivable of the
     Debtor purchased by Sun, without representation or warranty, other than that Sun is conveying to
22   the Reorganized Debtor all of Sun’s right, title and interest in and to such accounts receivable,
23   free and clear of any liens, claims or encumbrances created by or through Sun.

24           5.4    Treatment of Class 4 – Secured Tax Claims. Pursuant to § 1129(a)(9)(D) of
     the Bankruptcy Code, unless otherwise agreed in writing by the holder of a Secured Tax Claim
25   and the Reorganized Debtor, each holder of an Allowed Secured Tax Claim shall retain the Lien
     securing its Allowed Secured Tax Claim and shall be paid a value as of the Effective Date equal
26   to the unpaid portion of such Allowed Secured Tax Claim in quarterly Cash payments beginning
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     on the final day of the first full quarter after the Effective Date and ending five years after the
 1   Petition Date.
 2
            5.5      Treatment of Class 5 – Other Secured Claims. On the Effective Date, unless
 3   otherwise agreed in writing by a Claimant and the Debtor or the Reorganized Debtor, each
     holder of an Allowed Other Secured Claim will receive the treatment on account of such
 4   Allowed Other Secured Claim in the manner set forth in Option A, B or C below, at the election
     of the Debtor. Each Other Secured Claim shall be deemed a separate subclass with respect to
 5   such Claim. The Debtor will be deemed to have elected Option A except with respect to any
 6   Allowed Other Secured Claim as to which the Debtor elects Option B or Option C in one or
     more certifications filed prior to the Effective Date.
 7
                    Option A: Allowed Other Secured Claims with respect to which the Debtor elects
 8                  or is deemed to elect Option A will retain its Liens and be paid a value, as of the
                    Effective Date, equal to the amount of such Allowed Other Secured Claims in
 9                  quarterly Cash payments for a period of seven years after the Effective Date.
10                  Option B: Allowed Other Secured Claims with respect to which the Debtor elects
11                  Option B will be Reinstated.

12                  Option C: A holder of an Allowed Other Secured Claim with respect to which the
                    Debtor elects Option C will be entitled to receive (and the Debtor shall release
13                  and transfer to such holder) the collateral securing such Allowed Other Secured
                    Claim.
14
            5.6     Treatment of Class 6 – General Unsecured Claims. Holders of Allowed
15   General Unsecured Clams shall receive a Pro Rata interest in the General Unsecured Promissory
16   Note issued by the Reorganized Debtor. Neither the holders of Allowed General Unsecured
     Claims nor the Class 6 Creditor Trust shall charge or collect any prepayment penalty on account
17   of the Debtor’s whole or partial prepayment of the General Unsecured Promissory Note. At the
     time of any payment by the Reorganized Debtor on account of the Sun Promissory Note, the
18   Reorganized Debtor shall pay an amount equal to twenty-five percent (25%) of such payment on
     account of the General Unsecured Promissory Note.
19

20         5.7     Treatment of Class 7 – Subordinated Claims.                 Holders of Allowed
     Subordinated Claims shall neither receive nor retain any property on account of their Claims.
21
            5.8     Treatment of Class 8 – Equity Interests. Equity Interests shall be cancelled,
22   released and extinguished, and holders of Equity Interests shall neither receive nor retain any
     property on account of such Equity Interests.
23
           5.9    Treatment of Certain Employee Claims. Employee Claims for Pre-Petition
24   PTO and Post-Petition PTO shall be treated as follows:
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                     a.      Treatment. Any Pre-Petition PTO or Post-Petition PTO that remains
 1   unused thirty days after the Effective Date may be cashed out by Employees on their anniversary
 2   dates, beginning with anniversary dates that occur 30 days after the Effective Date, as set forth in
     the Collective Bargaining Agreements and the Debtor’s policies and procedures. The Debtor
 3   hereby waives any limitations or caps set forth in the Collective Bargaining Agreements and the
     Debtor’s policies and procedures related to the amount of Pre-Petition PTO or Post-Petition PTO
 4   that can be accrued in any given year until the Employees reach their anniversary dates and have
     a right to cash out any accrued Pre-Petition PTO and Post-Petition PTO.
 5

 6                b.      Waiver of Claims. The Employees shall not file, and shall be deemed to
     have waived the right to file, any Priority Claims, General Unsecured Claims, Administrative
 7   Expense Claims, or any other Claims related to the Pre-Petition PTO and Post-Petition PTO.

 8           5.10 Union Claims. SEIU United Healthcare Workers West and Service Employees
     International Union Local 121 RN shall not possess or assert any Administrative Expense Claims
 9   against the Estate, as any such Claims are fully and completely satisfied by the Debtor’s
     performance under the Collective Bargaining Agreements dated June 1, 2010.
10

11                                    ARTICLE VI
                         MEANS FOR IMPLEMENTATION OF THE PLAN
12
             6.1     Continued Corporate Existence and Vesting of Assets in the Reorganized
13   Debtor. As of the Effective Date, the Reorganized Debtor shall continue to exist as a corporate
     entity in accordance with applicable law pursuant to its Amended Certificate of Incorporation
14   and Bylaws, without prejudice to any right to terminate such existence (whether by merger or
     otherwise) under applicable law after the Effective Date. Except as otherwise provided in this
15
     Plan, on and after the Effective Date, all property of the Estate, including all claims, rights and
16   Causes of Action, other than Assigned Causes of Action, shall vest in the Reorganized Debtor
     free and clear of all Claims, Liens, charges, other encumbrances, and Equity Interests. On and
17   after the Effective Date, the Reorganized Debtor may operate its business and may use, acquire,
     and dispose of Property and compromise or settle any Claims without supervision of or approval
18   of the Bankruptcy Court free and clear of any restrictions of the Bankruptcy Code or the
19   Bankruptcy Rules, other than restrictions expressly imposed by this Plan or the Confirmation
     Order. Without limiting the foregoing, the Reorganized Debtor may pay the charges that it
20   incurs on or after the Effective Date for professional fees, disbursements, expenses or related
     support services without application to the Bankruptcy Court.
21
             6.2     Corporate Action. Each of the matters provided for under this Plan involving
22   the corporate structure of the Debtor or corporate action to be taken by or required of the Debtor,
     shall, as of the Effective Date, be deemed to have occurred and be effective as provided herein,
23
     and shall be authorized, approved and, to the extent taken prior to the Effective Date, ratified in
24   all respects without any requirement of further action by shareholders, creditors, officers or
     directors of the Debtor or the Reorganized Debtor.
25
             6.3     Certificate of Incorporation and Bylaws. On the Effective Date or as soon
26   thereafter as is practicable, the Reorganized Debtor shall file with the Secretary of State of the
     State of Delaware, in accordance with §§ 103 and 303 of the Delaware General Corporation
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     Law, the Amended Certificate of Incorporation and Bylaws. The Amended Certificate of
 1   Incorporation and Bylaws shall become the Amended Certificate of Incorporation and Bylaws of
 2   the Reorganized Debtor. The Amended Certificate of Incorporation and Bylaws for the
     Reorganized Debtor shall, among other things, authorize 100 shares of New Stock, $0.0001 par
 3   value per share. The Amended Certificate of Incorporation and Bylaws for the Reorganized
     Debtor will be included in the Plan Supplement.
 4
             6.4    Release of Liens. Except as otherwise provided in this Plan or in any contract,
 5   instrument, release or other agreement or document entered into or delivered in connection with
 6   this Plan, on the Effective Date, all mortgages, deeds of trust, Liens or other security interests
     against the property of the Estate vesting in the Reorganized Debtor or Sun will be fully released
 7   and discharged. As of the Effective Date, the Reorganized Debtor shall be authorized to file or
     record on behalf of creditors or putative creditors such Uniform Commercial Code termination
 8   statements, real property releases or reconveyances, or other documents or instruments as may be
     necessary to implement the provisions of this Section 6.4.
 9
              6.5   Cancellation of Equity Interests and Authorization and Issuance of New
10
     Stock.
11
                     a.     As set forth in Section 5.8 of the Plan, on the Effective Date, the Equity
12   Interests shall be cancelled, released and extinguished, and holders of Equity Interests shall
     neither receive nor retain any property on account of such Equity Interests.
13
                    b.      On or as soon as reasonably practicable after the Effective Date, the
14   Reorganized Debtor shall issue the New Stock to be distributed pursuant to the Plan without any
     further act or action by any other party under applicable law, regulation, order or rule. The
15
     issuance of the New Stock and the distribution thereof under the Plan shall be exempt from
16   registration under the Securities Act, the Bankruptcy Code and applicable state securities laws.
     All documents, agreements and instruments entered into, on or as of the Effective Date
17   contemplated by or in furtherance of the Plan, including without limitation the Recapitalization
     Agreement and any other agreement entered into in connection with the foregoing, shall become
18   effective and binding in accordance with their respective terms and conditions upon the parties
19   thereto.

20                   c.      All of the shares of New Stock issued pursuant to the Plan shall be duly
     authorized, validly issued, and if applicable, fully paid and non-assessable. Until the Sun
21   Promissory Note is paid in full, the Reorganized Debtor and Tuft shall not (a) issue any other
     shares of New Stock or any other shares of stock of the Reorganized Debtor unless such
22   transferee is bound by the pledge of New Stock to Sun set forth in this Plan, (b) grant any
     warrants or other rights with respect to the New Stock or any other shares of stock of the
23
     Reorganized Debtor unless such transferee is bound by the pledge of New Stock to Sun set forth
24   in this Plan, or (c) pledge or otherwise encumber the New Stock. Any attempted transfer, grant
     of warrants or other rights, or pledge or other encumbrance of New Stock in violation of this
25   Section 6.5(c) shall be null and void and of no force or effect.
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            6.6     The Recapitalization Agreement.
 1
                    a.     On the Effective Date and simultaneously with the vesting of the Debtor’s
 2
     assets in the Reorganized Debtor, the Reorganized Debtor shall enter into the Recapitalization
 3   Agreement with Tuft, which shall be approved pursuant to the Confirmation Order.

 4                  b.     As of the Effective Date and in accordance with the terms of the
     Recapitalization Agreement, Tuft shall own 100% of the New Stock and shall have the authority
 5   to manage the Reorganized Debtor pursuant to the terms of this Plan and other applicable law.
 6          6.7     The Sun Term Loan.
 7
                  a.     On the Effective Date, Sun and the Reorganized Debtor shall enter into the
 8   Sun Term Loan documents, and Sun shall advance the following amounts thereunder to the
     Reorganized Debtor:
 9
                           (i)    the sum of $2,264,150 (the “Long Term Portion”), of which
10   $1,499,900 shall be advanced by means of a reduction of the Cash payment by the Reorganized
     Debtor to Sun with respect to the Sun AR Tranche, and $724,250 shall be advanced by Sun in
11   Cash; and
12                         (ii)   the sum of $235,850 (the “Liquidity Portion”), all of which shall
     be advanced by Sun in Cash.
13
                    b.     The Long Term Portion shall mature on the date that is fifty-four (54)
14   months after the Effective Date. The Long Term Portion shall (i) bear regular interest at 13% per
     annum, (ii) with default interest, payable only in the event of a payment default with respect to
15   the Long Term Portion, at 17% per annum, (iii) only accrue interest during the first thirty-six
16   (36) months, and (iv) be fully amortized by equal monthly payments of principal and interest
     during months thirty-seven (37) through fifty-four (54).
17
                    c.      The Liquidity Portion shall be held in a separate interest-bearing
18   depository account of the Reorganized Debtor, segregated from all other funds, subject to a
     deposit account control agreement in favor of Sun, which funds may be drawn upon by the
19   Reorganized Debtor at any time in the event that the Reorganized Debtor has not received a
20   Disproportionate Share Hospital Payment for at least 90 days, and if drawn, must be repaid to the
     depository account from the next succeeding Disproportionate Share Hospital Payment, together
21   with regular interest on the drawn amount at the rate of 13% per annum, with default interest,
     payable only in the event of a payment default with respect to the Liquidity Portion, at the rate of
22   17% per annum. On the date that is thirty-six (36) months after the Effective Date, the entire
     amount of the Liquidity Portion, together with all interest earned on such funds or paid by the
23   Reorganized Debtor with respect to such funds, shall be paid and turned over to Sun.
24
                    d.     The Sun Term Loan shall be secured by (i) a first-priority Lien on the
25   Remaining Assets, (ii) a second-priority Lien on the Real Estate Collateral, immediately junior to
     the Lien securing the HCREIT Promissory Note, (iii) a first-priority Lien on the Assigned
26   Causes of Action, and (iv) a pledge of the New Stock, with such pledge subject in all respects to
     the limitations on the exercise of Sun’s rights with respect to such pledge set forth in Section
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     5.3(b) of this Plan, which Liens and pledge shall be pari passu with the Liens and pledge
 1   securing the Sun Promissory Note.
 2
                    e.      The existing government and non-government lockboxes and lockbox
 3   bank accounts established by Sun in connection with its factoring facility for the Debtor shall
     remain in place after the Effective Date; provided, however, that absent an event of default under
 4   the Sun Term Loan, the funds received in such lockbox bank accounts shall not be commingled
     with any other funds held by Sun and shall be promptly remitted back to the Reorganized
 5   Debtor, as further described in the Intercreditor Agreement and any other relevant agreements,
 6   documents or letters.

 7               f.         Sun shall not charge or collect any prepayment penalty with respect to the
     Sun Term Loan.
 8
           6.8      Provisions Relating to Post-Confirmation Administration of the Reorganized
 9   Debtor.
10                  a.      Board of Directors. As of the Effective Date, the Board of Directors
     shall be the governing body of the Reorganized Debtor for one year or such later time when a
11
     shareholders’ meeting is scheduled pursuant to the Organizational Documents or applicable non-
12   bankruptcy law, whichever is longer, and shall assume the governance of the Reorganized
     Debtor including, but not limited to, determining who shall serve as the Reorganized Debtor’s
13   Officers, supervisors, managers and executive employees.
14                 b.     Identity of Board of Directors. On the Effective Date, the term of the
     current members of the board of directors of the Debtor, if any, will expire. The initial member
15   of the Board of Directors shall be Tuft. The Reorganized Debtor shall have the right to elect
16   additional members of the Board of Directors, provided that such members shall not be a creditor
     of the Reorganized Debtor or relative of Tuft unless otherwise approved by Sun and HCREIT.
17
                   c.     Other Provisions. Other provisions governing the service, term and
18   continuance in office of the members of the Board of Directors shall be as set forth in the
     Organizational Documents of the Reorganized Debtor.
19
             6.9    Disbursing Agent. On the Effective Date, the Reorganized Debtor shall have the
20
     authority to serve as, or appoint, the Disbursing Agent to carry out the duties set forth in this
21   Plan. The Reorganized Debtor shall have the authority to replace the Disbursing Agent at any
     time, with or without cause, subject to the terms of any agreement between the Reorganized
22   Debtor and the Disbursing Agent. The Reorganized Debtor shall file any agreement with the
     Disbursing Agent with the Bankruptcy Court and serve such agreement on the United States
23   Trustee, HCREIT, Sun and the Class 6 Creditor Trustees.
24          6.10 Closing of Case. If, after the Effective Date, the Chapter 11 Case is closed, such
25   closing, (a) shall not alter, amend, revoke, or supersede the terms of this Plan, (b) shall not affect
     any rights of the Debtor, the holders of Claims or Equity Interests or the treatment of any other
26   Person under this Plan, (c) shall continue to cause the terms of this Plan to remain binding on all

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     Persons, (d) shall cause all orders of the Bankruptcy Court to remain in full force and effect, and
 1   (e) shall cause the Bankruptcy Court to retain all jurisdiction set forth in Article XII of this Plan.
 2
             6.11 Effectuating Documents; Further Transactions. The chief executive officer,
 3   the chief financial officer, chairman of the Debtor’s board of directors or any other executive
     officer of the Debtor shall be authorized to execute, deliver, file, or record such contracts,
 4   instruments, and other agreements or documents, and take such actions as may be necessary or
     appropriate to effectuate and further evidence the terms and conditions of this Plan. The
 5   secretary or assistant secretary of the Debtor shall be authorized to certify or attest to any of the
 6   foregoing actions.

 7           6.12 Exemption from Certain Transfer Taxes and Recording Fees. Pursuant to §
     1146(a) of the Bankruptcy Code, any transfers from the Debtor to the Reorganized Debtor, Sun
 8   or to any other Person pursuant to this Plan, or any agreement regarding the transfer of title to or
     ownership of any of the Debtor’s real or personal property, will not be subject to any document
 9   recording tax, stamp tax, real estate transfer tax, mortgage recording tax, Uniform Commercial
     Code filing or recording tax, or other similar tax or governmental assessment, and the
10
     Confirmation Order will direct the appropriate state or local governmental officials or agents to
11   forego the collection of any such tax or governmental assessment and to accept for filing and
     recordation any of the foregoing instruments or other documents without the payment of any
12   such tax or governmental assessment.
13            6.13 Withholding and Reporting Requirements. In connection with this Plan, the
     Reorganized Debtor shall (a) comply with all applicable withholding and reporting requirements
14   imposed by any federal, state or local taxing authority; (b) timely file all tax returns as required
15   by law to be filed; (c) continue to engage accountants or such other professionals to prepare and
     file all tax returns as required by law to be filed; (d) take such other actions as are reasonably
16   necessary, including the allocation of sufficient funds, to file such returns; and (e) shall timely
     pay all taxes arising under any requirements or tax returns applicable to this Plan.
17
             6.14 Quarterly Reports and United States Trustee’s Fees. The Debtor’s obligation
18   of filing monthly financial reports with the United States Trustee shall pass to and become the
19   obligation of the Reorganized Debtor and such obligation shall continue following the
     Confirmation Date until the obligation to pay the United States Trustee’s fees required to be paid
20   pursuant to 28 U.S.C. § 1930(a)(6) ends, except such monthly reports will be filed quarterly.
     The Officers shall prepare, sign, and file all reports after the Confirmation Date and shall pay any
21   United States Trustee’s fees due and owing. Copies of such reports shall be served on the Board
     of Directors, the United States Trustee, counsel for the Reorganized Debtor, HCREIT and Sun,
22   and on any party-in-interest requesting continued service of same.
23
            6.15    Preservation of Causes of Action.
24
                    a.      Vesting of Causes of Action. In accordance with § 1123(b) of the
25   Bankruptcy Code, except (i) as otherwise provided in this Plan, and (ii) with respect to Assigned
     Causes of Action, the Reorganized Debtor shall retain and may enforce all rights to commence
26   and pursue, as appropriate, any and all claims and Causes of Action held by the Debtor and/or
     the Estate, whether arising before or after the Petition Date. Except for the Assigned Causes of
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     Action, all such claims and Causes of Action, along with all rights, interests and defenses related
 1   thereto, shall vest with the Reorganized Debtor. The Assigned Causes of Action, along with all
 2   rights, interests and defenses related thereto, shall vest in Sun or its designee.

 3                  b.      Reservation of Causes of Action. Unless any Cause of Action against a
     Person is expressly waived, relinquished, exculpated, released, compromised or settled in this
 4   Plan or a Final Order, the Debtor and the Reorganized Debtor specifically reserve all Causes of
     Action, other than the Assigned Causes of Action, for later adjudication, and Sun specifically
 5   reserves all Assigned Causes of Action for later adjudication. Therefore, no preclusion doctrine,
 6   estoppel (judicial, equitable or otherwise) or laches shall apply to any of the Causes of Action
     upon, after or as a consequence of the confirmation, the Effective Date or consummation of this
 7   Plan.

 8                    c.     Preservation of Defensive Use of Causes of Action. Whether or not any
     Cause of Action other than an Assigned Cause of Action is pursued or abandoned, the Debtor
 9   and the Reorganized Debtor reserve their rights to use any such Cause of Action defensively,
     including for the purposes of asserting a setoff or recoupment, or to object to all or part of any
10
     Claim pursuant to § 502(d) of the Bankruptcy Code or otherwise. Whether or not any Assigned
11   Cause of Action is pursued or abandoned, Sun reserves its rights to use any such Assigned Cause
     of Action defensively, including for the purposes of asserting a setoff or recoupment, or to object
12   to all or part of any Claim pursuant to § 502(d) of the Bankruptcy Code or otherwise.
13                     d.      Discretion to Pursue or Settle and Immunity of the Parties. The
     Reorganized Debtor shall have discretion to pursue or not to pursue, to settle or not to settle, to
14   try or not to try, and/or to appeal or not to appeal all Causes of Action other than the Assigned
15   Causes of Action, and Sun shall have discretion to pursue or not to pursue, to settle or not to
     settle, to try or not to try, and/or to appeal or not to appeal all Assigned Causes of Action, as each
16   of them determines in the exercise of its business judgment and without any further approval of
     the Bankruptcy Court thereof. The Reorganized Debtor, the Board of Directors, Sun and their
17   respective attorneys and other professionals shall have no liability for the outcome of their
     decisions.
18

19          6.16    No Liability for Solicitation or Participation.

20           As specified in § 1125(e) of the Bankruptcy Code, Persons that solicit acceptances or
     rejections of the Plan and/or that participate in the offer, issuance, sales, or purchase of securities
21   offered or sold under the Plan, in good faith and in compliance with the applicable provisions of
     the Bankruptcy Code, shall not be liable, on account of such solicitation or participation, for
22   violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
     rejections of the Plan or the offer, issuance, sale, or purchase of securities.
23

24          6.17    Class 6 Creditor Trust.

25                  a.      Class 6 Creditor Trustees. The Confirmation Order shall approve, as of
     the Effective Date, the Class 6 Creditor Trust Agreement, which agreement shall provide for the
26   appointment of no less than three (3) members to act as the Class 6 Creditor Trustees to
     administer the Class 6 Creditor Trust, for the benefit of holders of Allowed General Unsecured
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     Claims. The Class 6 Creditor Trustees shall serve without any bond and shall act in accordance
 1   with the Class 6 Creditor Trust Agreement.
 2
                    b.      Compensation of Class 6 Creditor Trustees. The Class 6 Creditor
 3   Trustees shall be entitled to receive, on a monthly basis, payment of reasonable fees and
     reimbursement of reasonable expenses without further Court approval from the assets of the
 4   Class 6 Creditor Trust, in accordance with the Class 6 Creditor Trust Agreement. Each Class 6
     Creditor Trustee shall serve for the duration of the Class 6 Creditor Trust, subject to earlier
 5   death, resignation, incapacity or removal as specifically provided in the Class 6 Creditor Trust
 6   Agreement.

 7                 c.      Funding of the Creditor Trust. The Class 6 Creditor Trust will be
     funded solely with the Class 6 Creditor Trust Assets.
 8
                    d.     Powers and Duties. The Class 6 Creditor Trust shall have the following
 9   rights, powers and duties:
10                            (i)  Hold all of the Class 6 Creditor Trust Assets and exercise full
     right, power and discretion to manage such property and execute, acknowledge and deliver any
11
     and all instruments as may be appropriate or necessary as determined by the Class 6 Creditor
12   Trust in its discretion;

13                       (ii)   Receive payments under the General Unsecured Promissory Note
     for the benefit of holders of Allowed General Unsecured Claims and any modifications,
14   amendments, or other duties related to the General Unsecured Promissory Note after the
     Effective Date;
15
                         (iii) Make interim and final distributions to the Holders of Allowed
16
     General Unsecured Claims;
17
                         (iv)    File all tax and regulatory forms, returns, reports and other
18   documents required with respect to the Class 6 Creditor Trust;

19                         (v)     File suit or any appropriate motion for relief in the Court or in any
     other court of competent jurisdiction to resolve any claim, disagreement, conflict or ambiguity in
20   connection with the exercise of the Class 6 Creditor Trust’s rights, powers or duties; and
21
                           (vi)   Retain professionals, including accountants and attorneys, at the
22   expense of the Class 6 Creditor Trust, to assist the Class 6 Creditor Trustees in the performance
     of their duties.
23
                     e.     The Termination of the Class 6 Creditor Trust. The Class 6 Creditor
24   Trust shall be irrevocable. The Class 6 Creditor Trust shall terminate when the Class 6 Creditor
     Trustees have performed all of their duties under the Plan and the Class 6 Creditor Trust
25   Agreement, including the final distribution of all the property of the Class 6 Creditor Trust in
26   respect of Allowed General Unsecured Claims, which date shall not be more than nine (9) years
     and one (1) month after the Effective Date; provided, however, the Court may upon good cause
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     shown order the Class 6 Creditor Trust to remain open so long as shall be necessary to liquidate
 1   and distribute all its property. Upon good cause shown, the Court may modify the rights, powers
 2   and duties of the Class 6 Creditor Trust or the procedures for appointing successors to the Class
     6 Creditor Trustees in light of material changes in circumstances upon the motion of the Class 6
 3   Creditor Trust.

 4                   f.    Additional Provisions of the Class 6 Creditor Trust Agreement. In
     addition to the provisions in the Plan with respect to the Class 6 Creditor Trust, the Class 6
 5   Creditor Trust Agreement will provide for, among other things, other actions to be taken by the
 6   Class 6 Creditor Trust and the Class 6 Creditor Trustees, including the removal of Class 6
     Creditor Trustees or appointment of successor Class 6 Creditor Trustees, the liability of the Class
 7   6 Creditor Trustees, the effect of actions by the Class 6 Creditor Trustees, and the
     indemnification of the Class 6 Creditor Trustees. To the extent not set forth in the Plan, the
 8   functions and procedures applicable to the Class 6 Creditor Trust and the powers and duties of
     the Class 6 Creditor Trustees and the rights of the holders of Interests in the Class 6 Creditor
 9   Trust shall be governed by the provisions of the Class 6 Creditor Trust Agreement.
10
            6.18 Retiree Benefits. From and after the Effective Date, the Reorganized Debtor will
11   be obligated to pay retiree benefits (as defined in § 1114(a) of the Bankruptcy Code), if any, in
     accordance with the terms of any retiree benefit plans or other agreements governing the
12   payment of such benefits, subject to any rights to amend, modify or terminate such benefits
     under the terms of the applicable retiree benefits plan, other agreement or applicable non-
13   bankruptcy law.
14                                     ARTICLE VII
15                         PROVISIONS GOVERNING DISTRIBUTIONS

16           7.1     Distributions. Subject to Bankruptcy Rule 9010, all distributions under this Plan
     shall be made by the Disbursing Agent pursuant to the terms and conditions contained in this
17   Plan; provided, however, that no distribution shall be made on behalf of any Claim which may be
     subject to disallowance under § 502(d) of the Bankruptcy Code.
18
            7.2    Distributions of Cash. All distributions of Cash to be made by the Disbursing
19
     Agent pursuant to this Plan shall be made by a check or wire transfer from the Disbursing
20   Agent’s account maintained in accordance with this Plan.

21           7.3    Effective Date Payments. As soon as is practicable after the Effective Date, the
     Disbursing Agent shall make the initial distributions (the “Initial Distribution Date”) to holders
22   of Allowed Administrative Expense Claims and Allowed Priority Claims entitled to such
     distributions pursuant to the Plan. All payments shall be made in accordance with the terms and
23   provisions of the Plan.
24
             7.4    Distributions on a Subsequent Distribution Date. Pursuant to the terms of
25   provisions of the Plan, the Disbursing Agent shall, on a subsequent date (a “Subsequent
     Distribution Date”), distribute such Cash or other assets to the holders of Claims entitled to
26   distributions under the Plan that were Allowed on the Effective Date or subsequently have
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     become Allowed Claims on or before the Subsequent Distribution Date in accordance with the
 1   treatment of Allowed Claims established by the Plan.
 2
            7.5     Distributions on a Final Distribution Date. Pursuant to the terms and
 3   provisions of the Plan, the Disbursing Agent shall establish a final distribution date (the “Final
     Distribution Date”) upon which the Disbursing Agent shall distribute such Cash or other assets to
 4   the holders of Claims entitled to distributions under the Plan that were Allowed on the Effective
     Date or subsequently have become Allowed Claims on or before the Final Distribution Date in
 5   accordance with the treatment of Allowed Claims established by the Plan.
 6
              7.6    Delivery of Distributions and Undeliverable Distributions. Distributions to
 7   the holder of an Allowed Claim shall be made at the address of such holder as set forth on the
     Schedules unless superseded by the address as set forth on the Proof of Claim filed by such
 8   holder or by a written notice to the Disbursing Agent providing actual knowledge to the
     Disbursing Agent of a change of address. If any holder’s distribution is returned as
 9   undeliverable, no further distributions to such holder shall be made unless and until the
     Disbursing Agent is notified in writing within six months of the distribution date of such holder’s
10
     then current address, at which time all distributions shall be made to such holder, without
11   interest. All claims for undeliverable distributions shall be made within six months after the date
     such undeliverable distribution was initially made. If any claim for an undeliverable distribution
12   is not timely made as provided herein, such claim shall be forever barred with prejudice. After
     such date, all unclaimed property (a) shall be applied first to satisfy the costs of administering
13   and fully consummating this Plan, then shall be transferred to the Reorganized Debtor and
     available to be used for general corporate purposes, including working capital, provided that
14
     unclaimed distributions on account of General Unsecured Claims shall be turned over to the
15   Class 6 Creditor Trust for further Pro Rata distribution to the remaining holders of Allowed
     General Unsecured Claims, and (b) the holder of any such Claim shall not be entitled to any
16   other or further distribution under this Plan on account of such undeliverable distribution or such
     Claim.
17
             7.7    Time Bar to Cash Payments and Disallowances. Checks issued by the
18
     Disbursing Agent in respect of Allowed Clams shall be void if not negotiated within six months
19   after the date of issuance thereof. Requests for reissuance of any check shall be made to the
     Disbursing Agent by the holder of the Allowed Claim to whom such check originally was issued,
20   on or before the expiration of six months following the date of issuance of such check. After
     such date, (a) all funds held on account of such void check shall be applied first to satisfy the
21   costs of administering and fully consummating this Plan, then will be available to the
     Reorganized Debtor to be used for general corporate purposes, provided that uncashed
22
     distributions on account of General Unsecured Claims shall be turned over to the Class 6
23   Creditor Trust for further Pro Rata distribution to the remaining holders of Allowed General
     Unsecured Claims, (b) the Claim of the holder of any such void check shall be disallowed, and
24   (c) such Claimant shall not be entitled to any other or further distribution on account of such
     Claim.
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            7.8    Minimum Distributions. If a distribution to be made to a holder of an Allowed
 1   Claim on any Distribution Date, including the Final Distribution Date, would be $10.00 or less,
 2   notwithstanding any contrary provision of this Plan, no distribution will be made to such
     Claimant.
 3
             7.9    Transactions on Business Days. If the Effective Date or any other date on
 4   which a transaction, event or act may occur or arise under this Plan shall occur on Saturday,
     Sunday or other day that is not a Business Day, the transaction, event or act contemplated by this
 5   Plan to occur on such day shall instead occur on the next day which is a Business Day.
 6
            7.10 Dividends and Equity Distributions. The Reorganized Debtor shall not pay any
 7   dividends or make any distributions to its equity holders until the HCREIT Promissory Note, the
     Sun Promissory Note and the General Unsecured Promissory Note are paid in full.
 8
            7.11 Distributions after Allowance. Distributions to each holder of a Disputed
 9   Claim, to the extent that such Claim ultimately becomes Allowed, shall be made in accordance
     with the provisions of the Plan governing the Class of Claims to which such holder belongs.
10
             7.12 Disputed Payments. If any dispute arises as to the identity of a holder of an
11
     Allowed Claim who is to receive any distribution, the Disbursing Agent may, in lieu of making
12   such distribution to such Person, make such distribution into an escrow account until the
     disposition thereof shall be determined by the Bankruptcy Court or by written agreement among
13   the interested parties to such dispute.
14          7.13 No Distributions in Excess of Allowed Amount of Claim. Notwithstanding
     anything to the contrary herein, no holder of an Allowed Claim shall receive in respect of such
15   Claim any distribution in excess of the Allowed amount of such Claim.
16
                                     ARTICLE VIII
17                       PROCEDURES REGARDING DISPUTED CLAIMS

18           8.1    Objections to Claims. The Reorganized Debtor shall have the exclusive right to
     object to Claims after the Effective Date including, but not limited to, objections regarding the
19   allowance, classification or amount of Claims, subject to the procedures and limitations set forth
     in this Plan, the Bankruptcy Rules, and the Bankruptcy Code; provided, however, that the
20
     deadline for the Reorganized Debtor to file objections to Claims shall be one hundred eighty
21   (180) days after the Effective Date, unless further extended by the Bankruptcy Court upon notice
     to the holders of the twenty (20) largest General Unsecured Claims and all others requesting
22   notice pursuant to Bankruptcy Rule 2002. All such objections shall be litigated to a Final Order
     except to the extent the Reorganized Debtor, in its sole discretion, elects to withdraw any such
23   objection or compromise, settle or otherwise resolve any such objection, in which event the
     Reorganized Debtor may settle, compromise or otherwise resolve any Disputed Claim without
24
     approval of the Bankruptcy Court.
25
             8.2    No Distributions Pending Determination of Allowance of Disputed Claims.
26   No distributions shall be made under this Plan on account of any Disputed Claim, unless and
     until such Claim becomes an Allowed Claim.
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            8.3    Reserve Accounts for Disputed Claims. On or prior to the Initial Distribution
 1   Date and each Subsequent Distribution Date, the Disbursing Agent shall reserve Cash in an
 2   aggregate amount sufficient to pay each holder of a Disputed Claim (a) the amount of Cash that
     such holder would have been entitled to receive under this Plan if such Claim had been an
 3   Allowed Claim on the Initial Distribution Date, or (b) such lesser amount as the Bankruptcy
     Court may estimate or may otherwise order (the “Disputed Claims Reserve”).
 4
             8.4     Investment of Disputed Claims Reserve. The Disbursing Agent shall be
 5   permitted, from time to time, to invest all or a portion of the Cash in the Disputed Claims
 6   Reserve in United States Treasury Bills (or in a fund that invests substantially all of its assets in
     United States Treasury securities), interest-bearing certificates of deposit, tax exempt securities
 7   or investments permitted by § 345 of the Bankruptcy Code, with the concurrence of the Board of
     Directors or as otherwise authorized by the Bankruptcy Court, using prudent efforts to enhance
 8   the rates of interest earned on such Cash without inordinate risk. All interest earned on such
     Cash shall be held in the Disputed Claims Reserve and, after satisfaction of any expenses
 9   incurred in connection with the maintenance of the Disputed Claims Reserve, including taxes
10   payable on such interest income, if any, shall be transferred out of the Disputed Claims Reserve
     and shall be used by the Reorganized Debtor in accordance with this Plan.
11
             8.5     Allowance and Payment of Disputed Claims. If, on or after the Effective Date,
12   any Disputed Claim becomes an Allowed Claim, the Disbursing Agent shall, within thirty (30)
     days after the date on which such Disputed Claim becomes an Allowed Claim or as soon
13   thereafter as is practicable, distribute from the Disputed Claims Reserve to the holder of such
     Allowed Claim the amount of distributions that such holder would have been entitled to receive
14
     under this Plan if such Claim had been an Allowed Claim on the Effective Date.
15
            8.6     Release of Excess Funds from Disputed Claims Reserve. If at any time or
16   from time to time after the Effective Date, there shall be Cash in the Disputed Claims Reserve in
     an amount in excess of the amount which the Disbursing Agent is required at such time to
17   reserve on account of Disputed Claims under this Plan or pursuant to any order of the
     Bankruptcy Court, the Disbursing Agent may release such funds from the Disputed Claims
18
     Reserve to the Reorganized Debtor, provided that excess funds held in a Disputed Claims
19   Reserve on account of General Unsecured Claims shall be turned over to the Class 6 Creditor
     Trust for further Pro Rata distribution to the remaining holders of Allowed General Unsecured
20   Claims.

21           8.7    Estimation. The Debtor or the Reorganized Debtor, as the case may be, may, at
     any time, request that the Bankruptcy Court estimate any Disputed Claim pursuant to § 502(c) of
22   the Bankruptcy Code regardless of whether the Debtor or the Reorganized Debtor, as the case
23   may be, have previously objected to such Claim, and the Bankruptcy Court will retain
     jurisdiction to estimate any Claim at any time, including during litigation concerning any
24   objection to such Claim. In the event that the Bankruptcy Court estimates any Disputed Claim,
     that estimated amount may constitute either the Allowed amount of such Claim or a maximum
25   limitation on such Claim, as determined by the Bankruptcy Court. If the estimated amount
     constitutes a maximum limitation on such Claim, the Debtor or the Reorganized Debtor, as the
26   case may be, may elect to pursue any supplemental proceedings to object to any ultimate
27   payment of such Claim. All of the aforementioned Claims objection, estimation and resolution
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     procedures are cumulative and not necessarily exclusive of one another. On and after the
 1   Confirmation Date, Claims which have been estimated subsequently may be compromised,
 2   settled, withdrawn or otherwise resolved without further order of the Bankruptcy Court as
     provided in Section 8.1 of this Plan.
 3
                                ARTICLE IX
 4         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 5           9.1      Rejection of Executory Contracts and Unexpired Leases. Except as otherwise
     provided in the Confirmation Order, pursuant to §§ 365(a) and 1123(b)(2) of the Bankruptcy
 6
     Code, all remaining Executory Contracts and Unexpired Leases that exist between the Debtor
 7   and any Person shall be deemed rejected as of the Effective Date, except for any Executory
     Contract or Unexpired Lease (i) that has been assumed, assumed and assigned or rejected
 8   pursuant to an order of the Bankruptcy Court entered prior to the Effective Date, or (ii) as to
     which a motion for approval of the assumption, assumption and assignment or rejection has been
 9   filed prior to the later of (x) the Effective Date, or (y) January 31, 2011. Any claims arising from
     the rejection of an Executory Contract or Unexpired Lease (“Rejection Claims”) shall be
10
     classified in Class 6 under this Plan. Notwithstanding anything to the contrary herein, the Debtor
11   is not rejecting its Collective Bargaining Agreements with SEIU United Healthcare Workers
     West and Service Employees International Union Local 121 RN dated June 1, 2010, which shall
12   remain binding after the Effective Date.
13           9.2   Bar Date for Filing Rejection Claims. A Proof of Claim asserting a Rejection
     Claim shall be filed with the Bankruptcy Court on or before the fortieth (40th) day after the
14   Effective Date or be forever barred from assertion of any Rejection Claim against and payment
15   from the Reorganized Debtor.

16                                 ARTICLE X
                CONDITIONS PRECEDENT TO EFFECTIVENESS OF THE PLAN
17
            10.1 Conditions to the Effective Date. The Effective Date will not occur, and the
18   Plan will not be consummated unless and until the following conditions have been satisfied or
     duly waived pursuant to Section 10.2 of this Plan:
19

20                  a.      The Confirmation Order, with the Plan and all exhibits and annexes to
     each, in form and substance reasonably acceptable to the Debtor, shall have been entered by the
21   Bankruptcy Court, and shall be a Final Order, and no request for revocation of the Confirmation
     Order under § 1144 of the Bankruptcy Code shall have been made, or, if made, shall remain
22   pending; provided, however, that if the Confirmation Order has not become a Final Order
     because a notice of appeal has been timely filed and the parties are not stayed or enjoined from
23   consummating the Plan, this Section 10.1(a) shall be deemed satisfied unless the effect of the
24   appeal could reasonably be expected to be adverse to the business, operations, property,
     condition (financial or otherwise) or prospects of the Reorganized Debtor;
25
                     b.     All actions, documents and agreements necessary to implement this Plan
26   shall be in form and substance reasonably satisfactory to the Debtor and shall have been effected
     or executed as applicable;
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                    c.      Tuft shall have executed the Guarantees and the Recapitalization
 1   Agreement;
 2
                    d.      The Debtor shall have entered into the Sun Term Loan;
 3
                    e.      The Debtor shall have obtained any new hospital, pharmacy or laboratory
 4   licenses that may be required for operation of the Hospital by the Reorganized Debtor;

 5                  f.      HCREIT and Sun shall have entered into the Intercreditor Agreement;
 6                 g.     The Debtor shall have sufficient Cash on hand to make all required cash
     payments on the Effective Date; and
 7

 8                 h.     The Debtor shall have entered into a settlement with the Office of
     Inspector General concerning that certain self-disclosure letter, dated August 8, 2008, providing
 9   for a payment of $764,250 to the United States of America on the Effective Date.

10           10.2 Waiver of Conditions. The conditions set forth in Section 10.1(a), (b) and (e) of
     this Plan may be waived by the Debtor, without any notice to any other parties-in-interest or the
11   Bankruptcy Court and without a hearing.
12           10.3 Effect of Nonoccurrence of Conditions to the Effective Date. If each of the
13   conditions to the Effective Date is not satisfied or duly waived in accordance with Section 10.2
     of the Plan, then upon motion by the Debtor or any party-in-interest made before the time that
14   each of such conditions has been satisfied and upon notice to such parties-in-interest as the
     Bankruptcy Court may direct, the Confirmation Order will be vacated by the Bankruptcy Court;
15   provided, however, that, notwithstanding the filing of such motion, the Confirmation Order may
     not be vacated if each of the conditions to the Effective Date is satisfied before the Bankruptcy
16   Court enters an order granting such motion. If the Confirmation Order is vacated pursuant to this
17   Section 10.3, (1) the Plan will be null and void in all respects; and (2) nothing contained in the
     Plan will: (a) constitute a waiver or release of any claims by or against the Debtor; or
18   (b) prejudice in any manner the rights of the Debtor or any other party-in-interest.

19                                         ARTICLE XI
                                     EFFECT OF CONFIRMATION
20
             11.1 Discharge of the Debtor. Pursuant to § 1141(d) of the Bankruptcy Code and,
21
     except as otherwise specifically provided in this Plan or in the Confirmation Order, the rights
22   afforded and the payments and distributions to be made and the treatment under the Plan shall be
     in complete exchange for, and in full and unconditional settlement, satisfaction, discharge, and
23   release of any and all existing debts and Claims and termination of all Equity Interests of any
     kind, nature, or description whatsoever against or in the Debtor, the Reorganized Debtor, their
24   property, the Debtor’s assets, or the Estate, and shall effect a full and complete release,
     discharge, and termination of all Liens, security interests, or other claims, interests, or
25
     encumbrances upon all of the Debtor’s assets and property. Further, all Persons are precluded
26   from asserting, against the Debtor or the Reorganized Debtor or their respective successors, or
     any property that is to be distributed under the terms of the Plan, any Claims, obligations, rights,
27
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     causes of action, liabilities, or Equity Interests based upon any act, omission, transaction, or
 1   other activity of any kind or nature that occurred prior to the Effective Date, other than as
 2   expressly provided for in the Plan, or the Confirmation Order, whether or not (a) a Proof of
     Claim based upon such debt is filed or deemed filed under § 501 of the Bankruptcy Code; (b) a
 3   Claim based upon such debt is Allowed; or (c) the Claimant based upon such debt has accepted
     the Plan. Except as otherwise provided in the Plan or the Confirmation Order, all Claimants and
 4   holders of Equity Interests arising prior to the Effective Date shall be permanently barred and
     enjoined from asserting against the Reorganized Debtor or the Debtor, or their successors or
 5
     property, or the Debtor’s assets, any of the following actions on account of such Claim or Equity
 6   Interest: (i) commencing or continuing in any manner any action or other proceeding on account
     of such Claim or Equity Interest against the Reorganized Debtor, the Debtor, or the property to
 7   be distributed under the terms of the Plan, other than to enforce any right to distribution with
     respect to such property under the Plan; (ii) enforcing, attaching, collecting, or recovering in any
 8   manner any judgment, award, decree, or order against the Reorganized Debtor, the Debtor or any
     of the property to be distributed under the terms of the Plan, other than as permitted under sub-
 9
     paragraph (i) above; (iii) creating, perfecting, or enforcing any Lien or encumbrance against
10   property of the Reorganized Debtor, the Debtor, or any property to be distributed under the terms
     of the Plan; (iv) asserting any right of setoff, subrogation, or recoupment of any kind, directly or
11   indirectly, against any obligation due any Debtor, the Reorganized Debtor, their assets or any
     other property of the Debtor, the Reorganized Debtor, or any direct or indirect transferee of any
12   property of, or successor in interest to, any of the foregoing Persons; and (v) acting or proceeding
     in any manner, in any place whatsoever, that does not conform to, or comply with, the provisions
13
     of the Plan. The foregoing discharge, release and injunction are an integral part of the Plan and
14   are essential to its implementation. The Debtor and the Reorganized Debtor shall have the right
     to independently seek the enforcement of the discharge, release and injunction set forth in this
15   Section 11.1.
16           11.2 No Waiver of Discharge. Except as otherwise specifically provided herein,
     nothing in the Plan shall be deemed to waive, limit, or restrict in any way the discharge granted
17
     to the Debtor upon confirmation of the Plan by § 1141 of the Bankruptcy Code.
18
             11.3 Binding Effect. As of the Effective Date, this Plan shall be binding upon and
19   inure to the benefit of the Debtor, the Reorganized Debtor, all Claimants and holders of Equity
     Interests, other parties-in-interest and their respective heirs, successors, and assigns.
20
             11.4 Term of Injunctions or Stays. Unless otherwise provided in this Plan, all
21   injunctions or stays provided for in the Chapter 11 Case pursuant to §§ 105 or 362 of the
     Bankruptcy Code, or otherwise, and in effect on the Confirmation Date, shall remain in full force
22
     and effect until the Effective Date, at which time they are replaced with the injunction set forth in
23   Section 11.1 of the Plan.

24           11.5 Setoffs. Except with respect to Claims specifically Allowed under the Plan
     including, without limitation, the HCREIT Claims and the Sun Claims, the Debtor or the
25   Reorganized Debtor, as applicable, may, but shall not be required to, set off against any Claim,
     and the payments or other distributions to be made pursuant to this Plan in respect of such Claim,
26   claims of any nature whatsoever that the Debtor may have against such Claimant; but neither the
27   failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by
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     the Debtor or the Reorganized Debtor of any such claim that the Debtor or the Reorganized
 1   Debtor may have against such Claimant.
 2
                                         ARTICLE XII
 3                                RETENTION OF JURISDICTION

 4           The Bankruptcy Court shall retain exclusive jurisdiction of all matters arising under,
     arising out of, or related to, the Chapter 11 Case, this Plan and the Confirmation Order pursuant
 5   to, and for the purposes of, §§ 105(a) and 1142 of the Bankruptcy Code and for, among other
     things, the following purposes:
 6

 7                 a.      to determine the allowance or classification of Claims and to hear and
     determine any objections thereto;
 8
                    b.     to determine any and all motions, adversary proceedings, applications,
 9   contested matters and other litigated matters under the Bankruptcy Code or arising in or related
     to the Chapter 11 Case that may be pending in the Bankruptcy Court on, or initiated after, the
10   Effective Date;
11                 c.      to enter and implement such orders as may be appropriate in the event the
12   Confirmation Order is for any reason stayed, revoked, modified, or vacated;

13               d.      to issue such orders in aid of the execution, implementation and
     consummation of this Plan to the extent authorized by § 1142 of the Bankruptcy Code or
14   otherwise;
15                 e.      to construe and take any action to enforce this Plan;
16                  f.     to reconcile any inconsistency in any order of the Bankruptcy Court,
     including, without limitation, the Confirmation Order;
17

18                  g.     to modify this Plan pursuant to § 1127 of the Bankruptcy Code, or to
     remedy any apparent non-material defect or omission in this Plan, or to reconcile any non-
19   material inconsistency in this Plan so as to carry out its intent and purposes;

20                 h.     to hear and determine all applications for compensation and
     reimbursement of expenses of Professionals under §§ 328(a), 330, 331, 333, 503(b) or 1103 of
21   the Bankruptcy Code;
22
                    i.    to determine any other requests for payment of Priority Tax Claims,
23   Priority Claims or Administrative Expense Claims;

24                   j.    to hear and determine disputes arising in connection with the
     interpretation, implementation, or enforcement of this Plan;
25
                    k.    to consider and act on the compromise and settlement or payment of any
26   Claim against the Debtor, the Reorganized Debtor or the Estate;
27
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                    l.      to recover all assets of the Debtor and property of the Estate, wherever
 1   located;
 2
                    m.      to hear and determine Causes of Action and Assigned Causes of Action
 3   brought by the Reorganized Debtor or Sun, respectively; provided, however, that nothing in the
     retention of jurisdiction under this clause (m) shall be construed as a determination that the
 4   Bankruptcy Court has or does not have jurisdiction to hear and determine any Assigned Causes
     of Action against the Envision Entities;
 5
                    n.       to determine all questions and disputes regarding title to the assets of the
 6
     Debtor, the Reorganized Debtor or the Estate; provided, however, that nothing in the retention of
 7   jurisdiction under this clause (n) shall be construed as a determination that the Bankruptcy Court
     has or does not have jurisdiction to hear and determine any Assigned Causes of Action against
 8   the Envision Entities;

 9                o.    to issue injunctions, enter and implement other orders or to take such other
     actions as may be necessary or appropriate to restrain interference by any Person with
10   consummation, implementation or enforcement of this Plan or the Confirmation Order;
11
                    p.      to remedy any breach or default occurring under this Plan;
12
                     q.     to resolve and finally determine all disputes that may relate to, impact on
13   or arise in connection with this Plan;

14                  r.     to determine such other matters and for such other purposes as may be
     provided in the Confirmation Order;
15
                    s.      to hear any other matter consistent with the provisions of the Bankruptcy
16   Code; and
17
                    t.      to enter a final decree closing the Chapter 11 Case.
18
                                         ARTICLE XIII
19                                 MISCELLANEOUS PROVISIONS

20           13.1 Modification of Plan. The Debtor may propose amendments to or modifications
     of this Plan under § 1127 of the Bankruptcy Code at any time prior to the entry of the
21   Confirmation Order. After the Confirmation Date, the Reorganized Debtor may remedy any
22   defects or omissions or reconcile any inconsistencies in this Plan or in the Confirmation Order in
     such manner as may be necessary to carry out the purposes and intent of this Plan so long as the
23   interests of Claimants are not materially and adversely affected.

24          13.2 Distribution Pending Stay on Appeal. Any stay pending appeal shall apply
     only to amounts in controversy and distribution of amounts not in controversy shall continue in
25   accordance with the terms of the Plan.
26

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             13.3 Extensions of Time. Notwithstanding any time limitation in this Plan, the
 1   Bankruptcy Court may, pursuant to a motion filed with the Bankruptcy Court prior to the
 2   expiration of such time limitation and for good cause shown, extend such time limitation.

 3          13.4    Releases and Related Matters.

 4                  a.      General Releases by Holders of Claims.

 5            As of the Effective Date, in consideration for the obligations of the Debtor and the
     Reorganized Debtor under the Plan and the cash and other contracts, instruments, releases,
 6   agreements or documents to be entered into or delivered in connection with the Plan, each holder
 7   of a Claim that votes in favor of the Plan will be deemed to forever release, waive and discharge
     all claims, obligations, suits, judgments, damages, demands, debts, rights, causes of action and
 8   liabilities (other than the right to enforce obligations under or reserved by the Plan and the
     contracts, instruments, releases, agreements and documents delivered thereunder and the right to
 9   contest Fee Claims), whether liquidated or unliquidated, fixed or contingent, matured or
     unmatured, known or unknown, foreseen or unforeseen, then existing or thereafter arising in law,
10   equity or otherwise, that are based in whole or in part on any act, omission, transaction or other
11   occurrence taking place on or prior to the Effective Date in any way relating to the Debtor, the
     Chapter 11 Case or the Plan that such Person has, had or may have against (i) the Debtor, (ii) the
12   Debtor’s directors, officers, employees, agents and attorneys serving in that capacity as of the
     Confirmation Date, (iii) HCREIT and its current and former officers, directors, shareholders,
13   affiliates, employees, agents, attorneys and other professionals, (iv) Sun and its current and
     former officers, directors, shareholders, affiliates, employees, agents, attorneys and other
14   professionals, (v) Serra, and (vi) the Envision Entities (other than Sun who is not releasing the
15   Envision Entities herein).

16                  b.      Releases by the Debtor, Sun and HCREIT.

17            As of the Effective Date, for good and valuable consideration, the adequacy of which is
     hereby confirmed, Sun, HCREIT, the Debtor and the Reorganized Debtor and any and all
18   Persons claiming through or on behalf of the Debtor or the Reorganized Debtor including,
     without limitation, the Committee, will be deemed to forever release, waive and discharge all
19
     claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action and
20   liabilities whatsoever in connection with or related to the Debtor, the Chapter 11 Case or the Plan
     (other than the rights of the Debtor or Reorganized Debtor to enforce the Plan and the contracts,
21   instruments, releases, and other agreements or documents delivered thereunder) whether
     liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
22   foreseen or unforeseen, then existing or thereafter arising, in law, equity or otherwise that are
     based in whole or in part on any act, omission, transaction, event or other occurrence taking
23
     place on or prior to the Effective Date in any way relating to the Debtor, the Reorganized Debtor,
24   the Chapter 11 Case or the Plan, and that may be asserted by or on behalf of Sun, HCREIT, the
     Debtor or its Estate or the Reorganized Debtor against (i) the Debtor’s directors, officers,
25   employees, agents and attorneys serving in that capacity as of the Confirmation Date, (ii)
     HCREIT and its current and former officers, directors, shareholders, affiliates, employees,
26   agents, attorneys and other professionals, (iii) Sun and its current and former officers, directors,
     shareholders, affiliates, employees, agents, attorneys and other professionals, (iv) Serra, and (v)
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     the Envision Entities, other than any Assigned Causes of Action, which are expressly reserved;
 1   provided, however, that (x) Sun is not, and shall not be deemed to be, releasing any party
 2   included in (iii) or (v) above, and (y) HCREIT is not, and shall not be deemed to be, releasing
     any party included in (ii) above.
 3
                    c.      Serra Release.
 4
             In consideration for the releases set forth in section 13.4(a) and (b) of this Plan and
 5   pursuant to § 1123(b)(3)(A) of the Bankruptcy Code, as of the Effective Date, Serra will be
     deemed to forever release, waive and discharge all Claims, obligations, suits, judgments,
 6
     damages, demands, debts, rights, Causes of Action and liabilities, whether liquidated or
 7   unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
     unforeseen, then existing or thereafter arising, in law, equity or otherwise that may be asserted by
 8   or on behalf of Serra against (i) the Debtor or its Estate including, without limitation, with
     respect to any Proof of Claim filed against the Estate, (ii) the Debtor’s directors, officers,
 9   employees, agents and attorneys serving in that capacity as of the Confirmation Date, (iii)
     HCREIT and its current and former officers, directors, shareholders, affiliates, employees,
10
     agents, attorneys and other professionals, (iv) Sun and its current and former officers, directors,
11   shareholders, affiliates, employees, agents, attorneys and other professionals, and (v) the
     Envision Entities.
12
                    d.      Injunction Related to Releases.
13
             The Confirmation Order will permanently enjoin the commencement or prosecution by
14   any Person, whether directly, derivatively or otherwise, of any claims, obligations, suits,
     judgments, damages, demands, debts, rights, causes of action or liabilities released pursuant to
15
     the Plan, including pursuant to the releases in this Section 13.4.
16
             13.5 Treatment of the Envision Claim and Release. The $14.7 million Envision
17   Claim shall be treated as (a) an Allowed General Unsecured Claim in Class 6 in the amount of
     $5,000,000 (the “Allowed Envision Claim”); and (b) an Allowed Equity Interest in Class 8 in the
18   amount of $9,700,000. In consideration for the aforementioned treatment of the Envision Claim
     and the releases set forth in section 13.4(b) of this Plan and pursuant to § 1123(b)(3)(A) of the
19
     Bankruptcy Code, as of the Effective Date, the Envision Entities will be deemed to forever
20   release, waive and discharge all Claims, obligations, suits, judgments, damages, demands, debts,
     rights, Causes of Action and liabilities, whether liquidated or unliquidated, fixed or contingent,
21   matured or unmatured, known or unknown, foreseen or unforeseen, then existing or thereafter
     arising, in law, equity or otherwise that may be asserted by or on behalf of the Envision Entities
22   against (i) the Debtor or its Estate including, without limitation, with respect to any Proof of
     Claim filed against the Estate, other than the Allowed Envision Claim, (ii) HCREIT and its
23
     current and former officers, directors, shareholders, affiliates, employees, agents, attorneys and
24   other professionals, and (iii) Serra.        Nothing contained in this Plan constitutes an
     acknowledgment or agreement by the Envision Entities that the Debtor and/or the Estate have
25   any right or claim to the retrospective premium refunds under any workers’ compensation
     policies for calendar year 2006, 2007 and 2008 or that the Debtor and/or the Estate have any
26   Causes of Action against the Envision Entities, including, but not limited to, any Assigned
     Causes of Action against the Envision Entities. Notwithstanding any provision to the contrary
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     contained herein, the Envision Entities are not releasing the Debtor, the Estate, or the
 1   Reorganized Debtor from any claims, causes of action, defenses or any other rights the Envision
 2   Entities may have in connection with the Workers’ Compensation Insurance Causes of Action,
     other than any Claim against the Debtor or its Estate, which are expressly released subject to the
 3   Allowed Envision Claim.

 4           13.6 Allocation of Plan Distributions Between Principal and Interest. To the
     extent that any Allowed Claim entitled to a distribution under this Plan is composed of
 5   indebtedness and accrued but unpaid interest thereon, such distribution shall, for United States
 6   federal income tax purposes, be allocated to the principal amount of the Claim first and then, to
     the extent the consideration exceeds the principal amount of the Claim, to accrued but unpaid
 7   interest.

 8            13.7 Dissolution of the Committee. Effective on the Effective Date, the Committee
     shall dissolve automatically, whereupon its members, Professionals, and agents shall be released
 9   from any further duties and responsibilities in the Chapter 11 Case and under the Bankruptcy
     Code, except with respect to applications for Fee Claims. The Professionals retained by the
10
     Committee shall not be entitled to compensation and reimbursement of expenses for services
11   rendered after the Effective Date, except for services rendered in connection with applications
     for allowance of compensation and reimbursement of expenses pending on the Effective Date or
12   filed after the Effective Date pursuant to Section 2.2 of this Plan or any objections thereto.
13          13.8 Notices. Any pleading, notice or other documents required by the Plan or the
     Confirmation Order to be served on or delivered to the Debtor, the Reorganized Debtor,
14   HCREIT, Sun or the Committee must be sent by overnight delivery service, facsimile
15   transmission, courier service or messenger to:

16          If to the Debtor, to:

17                  Ayman Mousa
                    Chief Executive Officer
18                  Pacifica Hospital of the Valley
                    9449 San Fernando Rd.
19
                    Sun Valley, California 91352-1421
20                  Fax: (818) 252-2478

21                  and

22                  Edward J. Green, Esq.
                    Geoffrey S. Goodman, Esq.
23                  FOLEY & LARDNER LLP
                    321 North Clark Street, Suite 2800
24
                    Chicago, Illinois 60654
25                  Fax: (312) 832-4700

26                  and

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                                                    38
28
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                   David Gould, Esq.
 1                 DAVID GOULD, A PROFESSIONAL CORPORATION
 2                 23975 Park Sorrento, Suite 200
                   Calabasas, California 91302-4001
 3                 Fax: (818) 449-4803

 4                 (Counsel to the Debtor and the Reorganized Debtor)
 5         If to the Reorganized Debtor, to:
 6                 Paul Tuft
 7                 Pacifica Hospital of the Valley
                   9449 San Fernando Rd.
 8                 Sun Valley, California 91352-1421
                   Fax: (818) 252-2478
 9
           If to the Committee, to:
10
                   Samuel Maizel, Esq.
11                 Malhar S. Pagay, Esq.
12                 PACHULSKI STANG ZIEHL & JONES LLP
                   10100 Santa Monica Blvd., 11th Floor
13                 Los Angeles, California 90067-4100
                   Fax: (310) 201-0760
14
                   (Counsel to the Committee)
15
           If to HCREIT, to:
16
                   Michael L. Bernstein, Esq.
17
                   ARNOLD & PORTER LLP
18                 555 Twelfth St., NW
                   Washington, DC 20004-1206
19                 Fax: (202) 942-5999
20                 (Counsel to HCREIT)
21         If to Sun, to:
22
                   Mary H. Rose, Esq.
23                 BUCHALTER NEMER
                   1000 Wilshire Blvd., Suite 1500
24                 Los Angeles, California 90017-2457
                   Fax: (213) 630-5629
25
                   (Counsel to Sun)
26

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